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                                         EXHIBIT A



·1· · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · ·FOR THE NORTHERN DISTRICT OF ILLINOIS
·2· · · · · · · · · · WESTERN DIVISION

·3·        ·ANNIE AGNEW and NAYSHAWN· · )
· ·        ·EDWARDS, as Independent· · ·)
·4·        ·Co-Administrators of the· · )
· ·        ·Estate of NATHANIEL (NATE)· )
·5·        ·EDWARDS,· · · · · · · · · · )
· ·        · · · · · · · · · · · · · · ·)
·6·        · · · · · · · ·Plaintiffs,· ·)
· ·        · · · · · · · · · · · · · · ·)
·7·        · · · · · vs.· · · · · · · · )· ·No. 18 CV 50035
· ·        · · · · · · · · · · · · · · ·)
·8·        ·SERGEANT JONATHAN CATER,· · )
· ·        ·Individually, and the CITY· )
·9·        ·OF ROCK FALLS,· · · · · · · )
· ·        · · · · · · · · · · · · · · ·)
10·        · · · · · · · ·Defendants.· ·)

11· · · · · · The video-recorded deposition of DUSTIN

12· NATHANIEL SUGARS, taken pursuant to the Federal

13· Rules of Civil Procedure, before Nicole M. Cheney,

14· Certified Shorthand Reporter No. 084-004744, at

15· 140 South Dearborn Street, Suite 1020, Chicago,

16· Illinois, on Thursday, June 27, 2019, commencing

17· at 1:39 p.m., pursuant to notice.

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                                EXHIBIT A
 DUSTIN SUGARS, 06/27/2019                                                                                      Page 2..5
                                                               Page 2                                                  Page 4
 ·1·   ·   ·   ·APPEARANCES:                                            ·1· · · · · · · · · · · (Deposition Exhibit Number 1,
 ·2·   ·   ·   · · · THE COCHRAN FIRM by
 · ·   ·   ·   · · · MR. MELVIN L. BROOKS                               ·2· · · · · · · · · · · ·Witness Sugars, was marked for
 ·3·   ·   ·   · · · (140 South Dearborn Street, Suite 1020             ·3· · · · · · · · · · · ·identification 06/27/2019.)
 · ·   ·   ·   · · · ·Chicago, Illinois· 60603
 ·4·   ·   ·   · · · ·312.262.2880
                                                                        ·4· · · · THE VIDEO TECHNICIAN:· Good afternoon.· This
 · ·   ·   ·   · · · ·mbrooks@cochranfirm.com)                          ·5· is the beginning of media unit one, and we are now
 ·5·   ·   ·   · · · · · ·-and-
 · ·   ·   ·   · · · GREGORY E. KULIS & ASSOCIATES, LTD., by
                                                                        ·6· on the video record at 1:39.
 ·6·   ·   ·   · · · MR. GREGORY E. KULIS                               ·7· · · · · · · · ·This is the videotaped deposition of
 · ·   ·   ·   · · · (30 North LaSalle Street, Suite 2140
                                                                        ·8· Dustin Sugars being taken on June 27th, 2019.
 ·7·   ·   ·   · · · ·Chicago, Illinois· 60602
 · ·   ·   ·   · · · ·312.580.1830                                      ·9· · · · · · · · ·We are located at 140 South Dearborn
 ·8·   ·   ·   · · · ·gkulis@kulislawltd.com)                           10· Street, suite 1020, Chicago, Illinois.
 · ·   ·   ·   · · · · ·appeared on behalf of plaintiffs;
 ·9                                                                     11· · · · · · · · ·This deposition is being taken on
 · ·   ·   ·   ·   ·   ·   SCHAIN BANKS KENNY & SCHWARTZ, by            12· behalf of the plaintiff in the matter of Annie
 10·   ·   ·   ·   ·   ·   MR. MICHAEL E. KUJAWA
 · ·   ·   ·   ·   ·   ·   (70 West Madison Street, Suite 5300          13· Agnew, et al., versus Sergeant Jonathan Cater,
 11·   ·   ·   ·   ·   ·   ·Chicago, Illinois· 60602                    14· et al.
 · ·   ·   ·   ·   ·   ·   ·312.345.5700
 12·   ·   ·   ·   ·   ·   ·mkujawa@schainbanks.com)
                                                                        15· · · · · · · · ·The case number is 18 CV 50035 filed
 · ·   ·   ·   ·   ·   ·   · ·appeared on behalf of the defendants.     16· in the United States District Court for the
 13
 14·   · · ·ALSO PRESENT:
                                                                        17· Northern District of Illinois, Western Division.
 15·   · · · · · MS. BRETT SCHATZLE, Video Technician.                  18· · · · · · · · ·My name is Brett Schatzle, legal
 16·   · · · · · · · · *· *· *· *· *· * *
                                                                        19· videographer representing Urlaub Bowen &
 17
 18                                                                     20· Associates, Inc., with offices at 20 North Clark
 19                                                                     21· Street, suite 1260, Chicago, Illinois.
 20
 21                                                                     22· · · · · · · · ·The court reporter today is Nikki
 22                                                                     23· Cheney, also of Urlaub Bowen & Associates.
 23
 24                                                                     24· · · · · · · · ·Counsel, please identify yourselves

                                                               Page 3                                                  Page 5
 ·1· · · · · · · · · · · ·I N D E X                                     ·1· for the video record and the parties that you
 ·2
 · · Witness:· · · · · · · · · · · · · · · · · · ·Page
                                                                        ·2· represent.
 ·3                                                                     ·3· · · · MR. KULIS:· Gregory Kulis for the plaintiff.
 · · · · ·DUSTIN NATHANIEL SUGARS                                       ·4· · · · MR. BROOKS:· Mel Brooks for the plaintiffs.
 ·4
                                                                        ·5· · · · MR. KUJAWA:· Michael Kujawa for the
 · · · · · · · Examination by:
 ·5                                                                     ·6· defendants.
 · · · · · · · Mr. Kulis.........................· · 5                  ·7· · · · THE VIDEO TECHNICIAN:· Will the court
 ·6                                                                     ·8· reporter please swear in the witness.
 ·7
 ·8
                                                                        ·9· · · · · · · · · · · (Witness sworn.)
 · · · · · · · · · · · E X H I B I T S                                  10· · · · · · · · DUSTIN NATHANIEL SUGARS
 ·9                                                                     11· called as a witness herein, having been first duly
 10· ·No.· ·Description· · · · · · · · Marked/Referenced
                                                                        12· sworn, was examined and testified as follows:
 11· · ·1· Use of Force Policy...................· ·71
 12· · ·2· Sugars ISP Statement, Bates-Stamped                          13· · · · · · · · · · · EXAMINATION
 · · · · · 0195 - 0199...........................· ·79                  14· BY MR. KULIS:
 13                                                                     15· · · · Q.· · Good morning.· Will you please state
 · · · · · · · ·(Exhibits attached/scanned.)
 14
                                                                        16· your full name and spell your last name for the
 15· · · · · · · · · · · · · - - -                                      17· record.
 16                                                                     18· · · · A.· · Dustin Nathaniel Sugars.· Last name
 17
                                                                        19· S-u-g-a-r-s.
 18
 19                                                                     20· · · · Q.· · What's your date of birth?
 20                                                                     21· · · · A.· · 05/18/1990.
 21                                                                     22· · · · Q.· · And my name is Gregory Kulis, and I'm
 22
 23
                                                                        23· one of the plaintiff's attorneys.
 24                                                                     24· · · · · · · · ·Let me go over a few rules so you


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 ·1· and I are on the same page.                        ·1· speaking for three reasons:· One, you may be
 ·2· · · · · · · · ·First of all, you're being          ·2· anticipating a question I'm not really asking; two,
 ·3· represented by counsel?                            ·3· it may deprive your counsel of raising an -- an
 ·4· · · · A.· · Yes.                                   ·4· objection if you've already answered; and thirdly
 ·5· · · · Q.· · And it's Mr. Kujawa, correct?          ·5· and most importantly, our court reporter can't take
 ·6· · · · A.· · Yes.                                   ·6· two people talking at once.· Okay?
 ·7· · · · Q.· · And he also represents the defendant,  ·7· · · · A.· · Okay.
 ·8· Officer Cater, correct?                            ·8· · · · Q.· · So question, answer.· Question, answer.
 ·9· · · · A.· · Yes.                                   ·9· · · · · · · · ·Also, as you become accustomed to my
 10· · · · Q.· · Okay.· Now, I'm sure your attorney has 10· stellar personality, you may start anticipating
 11· prepared you appropriately, but let me go a few -- 11· that question.
 12· through a few ground rules.                        12· · · · · · · · ·So, again, don't anticipate my
 13· · · · · · · · ·Just, first of all, this is my      13· questions.· Wait till I've completed the question.
 14· opportunity to ask you some questions about some 14· Okay?
 15· incident that took place back on January 26th,     15· · · · A.· · Okay.
 16· 2018.                                              16· · · · Q.· · Also, if you need to take a break, just
 17· · · · · · · · ·I'm not here to trick you.· I'm not 17· tell me, We need to break, take a break; I need to
 18· here to corner you.· I just want to know what --   18· use the restroom.· Whatever the case may be.
 19· your version of the facts, what you saw, what you  19· · · · · · · · ·We can't take a break however while
 20· did, what you heard, actions you took.· Okay?      20· a question is pending.· So if there's a question
 21· · · · A.· · Okay.                                  21· out there, you can answer that question; and then
 22· · · · Q.· · If at any time I asked you a question  22· we can take a break.· Okay?
 23· you don't understand or you want me to repeat, I'd 23· · · · A.· · Okay.
 24· be happy to do so.                                 24· · · · Q.· · Okay.· Let me go over your -- a little

                                                Page 7                                                   Page 9
 ·1· · · · · · · · ·So if at any point in time when you   ·1· of your background before we get into the incident.
 ·2· feel like you don't understand a question, just      ·2· · · · · · · · ·Where were you raised?
 ·3· say, Counsel, Mr. Kulis, Greg -- whatever you want   ·3· · · · A.· · Rock Falls, Illinois.
 ·4· to call me -- could you repeat the question?· Or,    ·4· · · · Q.· · Where did you go to high school?
 ·5· I'm not sure what you mean.· Okay?                   ·5· · · · A.· · Rock Falls High School.
 ·6· · · · A.· · Okay.                                    ·6· · · · Q.· · What year did you graduate?
 ·7· · · · Q.· · If you answer the question, I will       ·7· · · · A.· · 2008.
 ·8· assume that you understood the question.             ·8· · · · Q.· · What did you do after graduation from
 ·9· · · · · · · · ·Is that fair?                         ·9· high school?
 10· · · · A.· · Yes.                                     10· · · · A.· · I'm sorry?
 11· · · · Q.· · We have a court reporter.· So if I ask   11· · · · Q.· · What did you do after you graduated
 12· you a question that calls for a yes or a no, the     12· from Rock Falls High School?
 13· court reporter must hear a yes or a no.· She can't   13· · · · A.· · I went to the Marine Corps for five
 14· take down a nod of the head, a grunt, uh-huh.· She   14· years.
 15· has to hear yes or no.· Okay?                        15· · · · Q.· · Honorably discharged?
 16· · · · A.· · Okay.                                    16· · · · A.· · Yes.
 17· · · · Q.· · Now, if I ask you a question and --      17· · · · Q.· · And when was that?
 18· and it like -- and what -- well, let me state it     18· · · · A.· · October of 2013.
 19· this way.                                            19· · · · Q.· · And upon leaving the Marine Corps, what
 20· · · · · · · · ·Please refrain from answering my      20· did you do?
 21· question until I've completed the question.          21· · · · A.· · I worked in two factories for
 22· · · · · · · · ·By that I mean, let me ask the        22· approximately one year.
 23· question.· Then you get to talk.· For three -- so    23· · · · Q.· · What -- just what type of factors?
 24· I don't want you answering the question as I'm       24· · · · A.· · One was a distribution center and --


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 ·1· and one was a -- like a plastic molding company.      ·1· · · · A.· · Divorced.
 ·2· · · · Q.· · Okay.· What did you do then?              ·2· · · · Q.· · Children?
 ·3· · · · A.· · I then went to the Illinois Department    ·3· · · · A.· · No.
 ·4· of Corrections.                                       ·4· · · · Q.· · Since you've been a law enforcement
 ·5· · · · Q.· · In what capacity?                         ·5· officer, either with the Illinois Department of
 ·6· · · · A.· · Correctional officer.                     ·6· Corrections or with Rock Falls, have you ever been
 ·7· · · · Q.· · Where were you working?                   ·7· sued?
 ·8· · · · A.· · Dixon, Illinois Correctional Center.      ·8· · · · A.· · No.
 ·9· · · · Q.· · And how long did you work for the         ·9· · · · Q.· · Have you ever had any disciplinary
 10· Illinois Department of Corrections?                   10· proceedings filed against you with the Illinois
 11· · · · A.· · One year.                                 11· Department of Corrections?
 12· · · · Q.· · Then what did you do?                     12· · · · A.· · No.
 13· · · · A.· · I was hired by the Rock Falls Police      13· · · · Q.· · Have you ever had any discipline
 14· Department.                                           14· rendered against you as a Rock Falls officer?
 15· · · · Q.· · And what date were you hired by them?     15· · · · A.· · No.
 16· · · · A.· · March 26th, 2016.                         16· · · · Q.· · And who was your field training officer
 17· · · · Q.· · And where did you have your training?     17· when you joined the department?
 18· · · · A.· · Champaign, Illinois, at the Police        18· · · · A.· · I had multiple.· The first one was
 19· Training Institute.                                   19· Officer Deets, the second one was Officer Holloway,
 20· · · · Q.· · In addition to the training at --         20· and the third one was Sergeant "Wolbert."
 21· training at the -- in Champaign, did you have any     21· · · · Q.· · Okay.· And how long have you known
 22· specific training with the Rock Falls Police          22· Officer Cater?
 23· Department?                                           23· · · · A.· · I'd say two-and-a-half years.
 24· · · · A.· · As in specialized training?               24· · · · Q.· · Since you've been on the department?

                                               Page 11                                                   Page 13
 ·1· · · · Q.· · Well, once you finished your training     ·1· · · · A.· · He was deployed when I got hired.· So
 ·2· in Champaign, did you -- any type of training with    ·2· he wasn't there for my first year.· So it was about
 ·3· the Rock --                                           ·3· two-and-a-half years.
 ·4· · · · A.· · We have -- we have like monthly           ·4· · · · Q.· · Okay.· Did you become friends with him?
 ·5· training at Rock Falls.                               ·5· · · · A.· · Yes.
 ·6· · · · Q.· · Okay.· And were you a probationary        ·6· · · · Q.· · Socialize outside the job?
 ·7· officer at one point?                                 ·7· · · · A.· · I'd say rarely.
 ·8· · · · A.· · Yes.                                      ·8· · · · Q.· · Now, drawing your attention to
 ·9· · · · Q.· · And how long was that?                    ·9· January 26th, 2018, you were working as a police
 10· · · · A.· · I was on probation for one year but FTO   10· officer for Rock Falls, correct?
 11· was three months.                                     11· · · · A.· · Yes.
 12· · · · Q.· · And during that period of time, I take    12· · · · Q.· · And was that in uniform?
 13· it you would have -- be accustomed -- would learn     13· · · · A.· · Yes.
 14· the policies and procedures of Rock Falls Police      14· · · · Q.· · Now, I don't know Rock Falls very well.
 15· Department, correct?                                  15· · · · · · · · ·Is it divided in sectors or how is
 16· · · · A.· · Yes.                                      16· it ...
 17· · · · Q.· · Including certain written procedures      17· · · · A.· · The -- for -- for Rock Falls, we can
 18· and regulations that they have, correct?              18· patrol the whole city.· We don't have certain --
 19· · · · A.· · Yes.                                      19· certain districts or sectors that we have to stay
 20· · · · Q.· · And one of those would be the use of      20· in.
 21· force policy?                                         21· · · · Q.· · Okay.· What were your duties on
 22· · · · A.· · Yes.                                      22· January 26th of 2018?
 23· · · · Q.· · Okay.· Just background:· Married,         23· · · · A.· · Patrol and then just answering calls.
 24· single, divorced, widowed?                            24· · · · Q.· · Okay.· Now, there came a point in time


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 ·1· where there was a shooting of Nathaniel Edwards,     ·1· 30 miles per hour.
 ·2· correct?                                             ·2· · · · Q.· · Okay.· And did he come in front of you,
 ·3· · · · A.· · Yes.                                     ·3· or did you just pull up behind him?
 ·4· · · · Q.· · Why don't you lead us up to that point   ·4· · · · A.· · He pulled -- he pulled off of Avenue B
 ·5· in time.· What were you doing before you became      ·5· in front of me as I traveled in -- in the same
 ·6· aware of Nathaniel Edwards' vehicle.                 ·6· direction.
 ·7· · · · A.· · So I was on patrol.· And then I had my   ·7· · · · Q.· · Okay.· And your squad was a marked
 ·8· in-squad radio set to scan so I can hear county      ·8· squad car?
 ·9· calls, fire calls, and everything.                   ·9· · · · A.· · Yes.
 10· · · · · · · · ·I heard a county deputy get           10· · · · Q.· · And were you directly behind him?
 11· dispatched to the area -- I can't recall the exact   11· · · · A.· · Yes.
 12· area; I'd say Martin Road and Sycamore -- for a      12· · · · Q.· · And what did you notice, if anything?
 13· suspicious subject.                                  13· · · · A.· · Several traffic violations, one being
 14· · · · · · · · ·And so I started floating that way    14· improper lane usage.
 15· because it's just right outside the city limits;     15· · · · · · · · ·And then I chased his vehicle with
 16· and then on the way to that area is when I located   16· my squad at 41 miles per hour in a 30-mile-an-hour
 17· this white Cadillac that was later identified as     17· zone.
 18· Nate -- Nathaniel Edwards driving and observed       18· · · · Q.· · What was the lane usage violation?
 19· several traffic violations with this Cadillac.       19· · · · A.· · He was weaving back and forth from line
 20· · · · Q.· · Okay.· So the -- I can't even speak      20· to line; and then where -- Dixon Avenue, when
 21· today.                                               21· you're closer to town, is two lanes.
 22· · · · · · · · ·The suspicious subject had nothing    22· · · · · · · · ·When you get out --
 23· to do with Nathaniel Edwards or his vehicle,         23· · · · Q.· · One lane going eastbound, one lane
 24· correct?                                             24· going westbound?

                                              Page 15                                                   Page 17
 ·1· · · · A.· · As far as I know, no.                    ·1· · · · A.· · Correct.· Once you get closer to Martin
 ·2· · · · Q.· · Okay.· So you weren't even -- you        ·2· Road, it goes from two lanes to four lanes; two
 ·3· didn't even get to the location where that subject   ·3· eastbound, two westbound.
 ·4· was?                                                 ·4· · · · · · · · ·When we got to the two-lane, his car
 ·5· · · · A.· · No.                                      ·5· sped up, and so I got behind him and paced him with
 ·6· · · · Q.· · Okay.· So where were you -- on what      ·6· my squad at 41.
 ·7· road were you when you first noticed Mr. Edwards'    ·7· · · · · · · · ·He also, while in that, crossed the
 ·8· vehicle?                                             ·8· white dotted line of the two eastbound lanes.
 ·9· · · · A.· · I was on Dixon Avenue.                   ·9· · · · Q.· · Your vehicle had a dash cam?
 10· · · · Q.· · Going which direction?                   10· · · · A.· · Yes.
 11· · · · A.· · Eastbound.                               11· · · · Q.· · And it was operating?
 12· · · · Q.· · On your way to the area where this       12· · · · A.· · Yes.
 13· subject was supposedly --                            13· · · · Q.· · And was it operating the whole time
 14· · · · A.· · Yes.                                     14· that you were in it?
 15· · · · Q.· · -- seen?                                 15· · · · A.· · It has a delay; but, yes, once you turn
 16· · · · · · · · ·Okay.· And which direction was        16· the lights on, it has a 30-second buffer.· But it's
 17· Mr. Edwards' vehicle proceeding?                     17· always on.
 18· · · · A.· · Eastbound in front of my squad.          18· · · · Q.· · Okay.· So when you -- what's the first
 19· · · · Q.· · And is Dixon a two-way street?           19· thing you saw Mr. Edwards do that you felt to be
 20· · · · A.· · Yes.                                     20· illegal?
 21· · · · Q.· · And what is the speed limit on that      21· · · · A.· · The improper lane usage.
 22· street?                                              22· · · · Q.· · Okay.· And what did you do at that
 23· · · · A.· · It varies from where you're at; but      23· point?
 24· where we -- when I first observed him, it was        24· · · · A.· · I then followed behind him and -- to


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 ·1· observe more violations.                              ·1· · · · A.· · Went down to Martin Road, and then he
 ·2· · · · Q.· · Okay.· Did you ever call in the plate?    ·2· made a left onto Martin Road and continued
 ·3· · · · A.· · Not until I turned my -- or activated     ·3· northbound on Martin Road.
 ·4· my emergency lights.                                  ·4· · · · Q.· · How far is Circle from Martin?
 ·5· · · · Q.· · Okay.· So how far did you -- or give --   ·5· · · · A.· · I'd say a block.
 ·6· I'm sorry.                                            ·6· · · · Q.· · Okay.· And he did not pull over?
 ·7· · · · · · · · ·Give us geographically the direction   ·7· · · · A.· · No.
 ·8· that you went and when did you first put your         ·8· · · · Q.· · Okay.· So then he turned left onto
 ·9· lights on.                                            ·9· Circle?
 10· · · · A.· · From when I first saw him?                10· · · · A.· · Left onto Martin.
 11· · · · Q.· · Okay.· Yes -- no, from when you first     11· · · · Q.· · I'm sorry.· Left onto Martin.· Which
 12· saw him --                                            12· would be northbound?
 13· · · · A.· · The lane violation.                       13· · · · A.· · Yes.
 14· · · · Q.· · The lane violation.                       14· · · · Q.· · Okay.· And then how far did he travel?
 15· · · · A.· · I'd say six city blocks which varies      15· · · · A.· · I don't have the distance.· But we
 16· from wherever you're at.                              16· traveled to Franklin Street and made a right in
 17· · · · Q.· · Okay.                                     17· front of Franklin, maybe just less than a mile.
 18· · · · A.· · Say less than a mile.                     18· · · · Q.· · So at this point, he still had not
 19· · · · Q.· · Would that have been the -- the street    19· pulled over, correct?
 20· that you would have traveled to check out this        20· · · · A.· · No.
 21· suspicious subject?                                   21· · · · Q.· · What was his speed at that point on
 22· · · · A.· · Yes.                                      22· Martin?
 23· · · · Q.· · Okay.· So you were continuing on your     23· · · · A.· · Approximately 21 miles an hour.
 24· way but he just happened to be in front of you?       24· · · · Q.· · And what is the speed limit?

                                               Page 19                                                   Page 21
 ·1· · · · A.· · Yes.                                      ·1· · · · A.· · On Martin?· I want to say it's 30 miles
 ·2· · · · Q.· · Okay.· So what happened then?             ·2· per hour.· There's a section that changes.
 ·3· · · · A.· · After the violations?                     ·3· · · · Q.· · So he was approximately ten miles under
 ·4· · · · Q.· · Yeah.                                     ·4· the speed limit, correct?
 ·5· · · · A.· · He then put his turn signal on to         ·5· · · · A.· · Correct.
 ·6· turn -- to me, what appeared to turn on Circle        ·6· · · · Q.· · So he wasn't like racing to get away
 ·7· Drive which is another road.· So I activated my       ·7· from you?
 ·8· lights to stop.                                       ·8· · · · A.· · No.
 ·9· · · · Q.· · When he got -- you activated your Mars    ·9· · · · Q.· · So at this point, did you call in that
 10· lights when he got onto Circle?                       10· you were patrolling a vehicle?
 11· · · · A.· · No.· He -- he never turned onto Circle.   11· · · · A.· · Yes.· I called in, once we called onto
 12· He turned his turn -- turn signal on before Circle    12· Martin, that he was not stopping.
 13· Drive, and Circle Drive is a dead-end road.           13· · · · Q.· · And what did you say to the dispatcher?
 14· · · · · · · · ·So that's when I decided to turn my    14· · · · A.· · The direction we were going, speeds,
 15· lights on.                                            15· and then just kept giving them updates at every
 16· · · · Q.· · Okay.· As he continued past Circle or     16· crossroad as we were driving.
 17· before you got to Circle?                             17· · · · Q.· · Did you call for backup?
 18· · · · A.· · Before.                                   18· · · · A.· · I know because of that -- I want to say
 19· · · · Q.· · Okay.· So before you even got to          19· county call that was in that area I was headed to,
 20· Circle, you turned your Mars lights on?               20· I knew there was a deputy somewhere around there.
 21· · · · A.· · Yes.                                      21· · · · · · · · ·I had asked my dispatch to contact
 22· · · · Q.· · Okay.· And then you passed Circle?        22· their dispatch to see if he was in the area to
 23· · · · A.· · Yes.                                      23· assist.
 24· · · · Q.· · And then what happened then?              24· · · · Q.· · And that would be Whiteside County?


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                                EXHIBIT A
 DUSTIN SUGARS, 06/27/2019                                                                      Page 22..25
                                               Page 22                                                   Page 24
 ·1· · · · A.· · Yes.                                      ·1· · · · Q.· · And were you directly behind his
 ·2· · · · Q.· · So you proceeded on Martin.               ·2· vehicle?
 ·3· · · · · · · · ·Then where did the pursuit take you?   ·3· · · · A.· · Yes.
 ·4· · · · A.· · We went north on Martin and then we       ·4· · · · Q.· · Did you get on your intercom and ask
 ·5· turned right to go east on Franklin Street.           ·5· him -- you know, yell for him to turn over -- pull
 ·6· · · · · · · · ·Keep going?                            ·6· over or anything like that?
 ·7· · · · Q.· · Yeah.· At that point in time, had any     ·7· · · · A.· · No.
 ·8· other police vehicles or law enforcement vehicles     ·8· · · · Q.· · And were you able to see -- when you
 ·9· joined your pursuit?                                  ·9· got close to him, were you able to see in his back
 10· · · · A.· · Once I was on Franklin Street, the        10· window?
 11· Whiteside County deputy was behind me.                11· · · · A.· · Yes.
 12· · · · Q.· · Okay.· And that could be officer who?     12· · · · Q.· · And could you see what he -- if
 13· · · · A.· · Deputy Cute -- Deputy -- Deputy Coutts.   13· anything, he was doing?
 14· · · · Q.· · Okay.· And did you know Deputy Coutts     14· · · · A.· · No.
 15· before this incident?                                 15· · · · Q.· · Could you tell if he was on the phone?
 16· · · · A.· · Yes.                                      16· · · · A.· · No.
 17· · · · Q.· · Okay.· So at this point, it's you're      17· · · · Q.· · As you were traveling, was there any
 18· first and Coutts is second, correct?                  18· points in time where there was a stop sign or a
 19· · · · A.· · Correct.                                  19· stoplight or anything like that?
 20· · · · Q.· · Did he activate his Mars lights?          20· · · · A.· · A stop sign.
 21· · · · A.· · Yes.                                      21· · · · Q.· · Did he stop at the stop sign?
 22· · · · Q.· · So at this point, there's two vehicles    22· · · · A.· · No.
 23· behind this white Cadillac, correct?                  23· · · · Q.· · Okay.· And where was that?
 24· · · · A.· · Correct.                                  24· · · · A.· · That was at Sycamore and Martin Road.

                                               Page 23                                                   Page 25
 ·1· · · · Q.· · And so where did you go then?             ·1· · · · Q.· · Okay.· And he continued through the
 ·2· · · · A.· · Franklin Street takes a -- it curves      ·2· stop sign?
 ·3· left or northbound, and it turns into Ann Street,     ·3· · · · A.· · Yes.
 ·4· and then the very next street take a left and it's    ·4· · · · Q.· · Okay.· Not even hesitating?
 ·5· Sycamore.                                             ·5· · · · A.· · No.
 ·6· · · · · · · · ·So then we went onto Sycamore and      ·6· · · · Q.· · And what time of the evening was this?
 ·7· traveled westbound.                                   ·7· · · · A.· · I'd say approximately 7:15 p.m.
 ·8· · · · Q.· · And how fast was the Cadillac going at    ·8· · · · Q.· · Okay.· So then where did you go?
 ·9· this point?                                           ·9· · · · A.· · We went west on Sycamore and then he
 10· · · · A.· · Still approximately 20 miles an hour.     10· turned south on Martin and then he made another
 11· · · · Q.· · Within the speed limit, correct?          11· left to go east on Franklin again.
 12· · · · A.· · Correct.                                  12· · · · Q.· · Okay.· When he made that to go back on
 13· · · · Q.· · And what were you thinking at this        13· Franklin again, was it still you and Coutts behind
 14· point?                                                14· you?
 15· · · · A.· · I don't know why he wasn't stopping.      15· · · · A.· · No.
 16· I didn't know.                                        16· · · · Q.· · Who else?
 17· · · · Q.· · You've had pursuits before, correct?      17· · · · A.· · Sergeant Cater or Officer Cater at the
 18· · · · A.· · Correct.                                  18· time and then Officer Riley were on scene or in the
 19· · · · Q.· · And I assume that some of those           19· area.
 20· pursuits became somewhat a high rate of speed?        20· · · · Q.· · So were they in pursuit also?
 21· · · · A.· · Correct.                                  21· · · · A.· · I don't know exactly where they were
 22· · · · Q.· · And this guy was not like running from    22· behind me.· It was my squad, Deputy Coutts's squad,
 23· you, right?                                           23· and then I couldn't see any farther back due to
 24· · · · A.· · No.                                       24· his -- or Deputy Coutts's lights.


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                                EXHIBIT A
 DUSTIN SUGARS, 06/27/2019                                                                      Page 26..29
                                               Page 26                                                   Page 28
 ·1· · · · Q.· · Did you have any chatter between you      ·1· Edwards?
 ·2· guys on the -- on the -- on -- on the                 ·2· · · · A.· · No.
 ·3· radio regarding --                                    ·3· · · · Q.· · Now, you said that at one point you
 ·4· · · · A.· · Yes.                                      ·4· called in the -- the plate?
 ·5· · · · Q.· · What -- what was being said?              ·5· · · · A.· · Yes.
 ·6· · · · A.· · Officer Cater -- you want me to refer     ·6· · · · Q.· · When did you do that?
 ·7· to him as Sergeant Or Officer.                        ·7· · · · A.· · When I activated my emergency lights
 ·8· · · · Q.· · Anyway you want.· You can say Cater.      ·8· to -- to do a traffic stop on the vehicle.
 ·9· How's that?· Cater.                                   ·9· · · · Q.· · Okay.· What came back?
 10· · · · A.· · Cater told me that he was on the cell     10· · · · A.· · I can't remember the name that the
 11· phone as they passed him.· And then he told me that   11· vehicle came back to, but they -- when you run a
 12· he didn't think he was going to stop because the      12· vehicle, it -- the vehicle info will come back,
 13· vehicle went around Cater and Riley's vehicle.        13· and the registered owner of that vehicle will come
 14· · · · Q.· · So Cater at one point passed him?         14· back.
 15· · · · A.· · Yes.· He was -- on Sycamore, Cater        15· · · · · · · · ·And then sometimes the driver --
 16· blocked the street to see if he'd stop, and           16· or the registered owner driver's license will come
 17· Edwards' vehicle went north of Cater's vehicle into   17· back to that vehicle showing that they're valid
 18· the ditch and came out, and continued and then ran    18· or -- or not.
 19· the stop sign.                                        19· · · · · · · · ·The only thing that came back to
 20· · · · Q.· · So Cater said, I don't think he's going   20· this vehicle was a white Cadillac and then the
 21· to stop?                                              21· registered owner; but I had no driver's license
 22· · · · A.· · Yes.                                      22· information, if theirs is valid or not.
 23· · · · Q.· · Anything else said?                       23· · · · Q.· · Where was it registered to, do you
 24· · · · A.· · Not that I can -- can recall.             24· recall?

                                               Page 27                                                   Page 29
 ·1· · · · Q.· · Cater getting angry?                      ·1· · · · A.· · I can't recall.
 ·2· · · · A.· · No.                                       ·2· · · · Q.· · Okay.· So when it pulled into the
 ·3· · · · Q.· · What did you say in response to Cater's   ·3· driveway, tell me the alignment of the vehicles,
 ·4· comments?                                             ·4· the police vehicles.
 ·5· · · · A.· · Once we turned onto Franklin again for    ·5· · · · A.· · So the Cadillac pulled straight into
 ·6· the second time, it's in our policy to -- the first   ·6· the driveway.· And then my squad was angled.
 ·7· squad in a -- in a pursuit or following a vehicle     ·7· · · · · · · · ·And then at the time, I had no idea
 ·8· pays attention to following the vehicle.              ·8· how -- where the other squads were; but afterwards,
 ·9· · · · · · · · ·So I asked Officer Cater if he         ·9· I think they were angled as well.
 10· wanted to call it a pursuit, as in the directions,    10· · · · Q.· · Who else, when you pulled -- when
 11· where we're at, location, everything like that.       11· you pulled into the driveway, when -- what other
 12· · · · · · · · ·And so at that same time is when the   12· vehicles were -- was -- were with you?· What other
 13· vehicle pulled into the driveway.                     13· law enforcement vehicles?
 14· · · · Q.· · And that was off of what street?          14· · · · A.· · At the time, I had no idea.
 15· · · · A.· · Franklin.                                 15· · · · · · · · ·I knew Cater's vehicle was in the
 16· · · · Q.· · Okay.· Had you -- did you know anybody    16· area and I knew Deputy Coutts's vehicle was in the
 17· on -- that lived on Franklin?· In that block.         17· area.
 18· · · · A.· · I do now.                                 18· · · · · · · · ·If we can go back real quick, when
 19· · · · Q.· · Back then?                                19· we were on Franklin, the vehicle slowed down to
 20· · · · A.· · At that time, no.                         20· like ten miles per hour; and on my radio, my
 21· · · · Q.· · Okay.· Prior to this date, did you know   21· in-squad radio, I heard county's dispatch advising
 22· Nathaniel Edwards?                                    22· Deputy Coutts to not get involved in the pursuit
 23· · · · A.· · No.                                       23· due to traffic violations.
 24· · · · Q.· · Did you know anything of Nathaniel        24· · · · · · · · ·And that's the same time that


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                                EXHIBIT A
 DUSTIN SUGARS, 06/27/2019                                                                            Page 30..33
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 ·1· this -- the Cadillac took -- turned into the                ·1· · · · Q.· · Okay.· And have you ever reviewed
 ·2· driveway.                                                   ·2· anyone else's reports?
 ·3· · · · · · · · ·So I didn't know if he was still             ·3· · · · A.· · No.
 ·4· with us or not.                                             ·4· · · · Q.· · Now, when you pulled into the driveway,
 ·5· · · · · · · · ·So my squad I know was first and             ·5· you were on an angle, correct?
 ·6· then I -- I don't know where the other ...                  ·6· · · · A.· · Yes.
 ·7· · · · Q.· · Do you know why the county told him not         ·7· · · · Q.· · Okay.· What were you thinking at that
 ·8· get involved?                                               ·8· point?
 ·9· · · · A.· · Due to their policy.· I don't know what         ·9· · · · A.· · Due to the vehicle stopping, I thought
 10· exactly their policy is.                                    10· the -- from experience, the driver was going to
 11· · · · Q.· · Okay.                                           11· flee on foot.· Either in the house or through the
 12· · · · A.· · Because it -- when there's a lot                12· backyards of the -- the residence.
 13· of squads, it can escalate the situation.· It can           13· · · · Q.· · So what did you do?
 14· be traffic accidents and other matters.                     14· · · · A.· · So I got out of my vehicle and
 15· Possibility.                                                15· approached this vehicle -- or the -- approached
 16· · · · Q.· · Let me back up.                                 16· the Cadillac.
 17· · · · · · · · ·Before you came here today, what,            17· · · · Q.· · Okay.· So, at this point in time, there
 18· if anything, did you review to prepare for this             18· were minor traffic violations that this vehicle had
 19· deposition?                                                 19· engaged in, correct?
 20· · · · A.· · As in ...                                       20· · · · A.· · Yes.
 21· · · · Q.· · What did you look at?· What did you             21· · · · Q.· · And it was the improper lane usage; you
 22· listen to?· What did you see?                               22· said at one point he was speeding?
 23· · · · A.· · I viewed the video.· I viewed my                23· · · · A.· · Yes.
 24· report.                                                     24· · · · Q.· · And then fleeing from the police?

                                                     Page 31                                                    Page 33
 ·1· · · · Q.· · Okay.· When is the last time you viewed     ·1· · · · A.· · Yes.
 ·2· the vehicle?                                            ·2· · · · Q.· · Anything else?
 ·3· · · · A.· · Couple weeks ago?· A week ago?              ·3· · · · A.· · Disobeying a stop sign, going off road;
 ·4· · · · Q.· · Okay.· And since the incident,              ·4· and that would be, I think, it.
 ·5· approximately how many times have you viewed that ·5· · · · Q.· · Minor traffic violations, right?
 ·6· video?                                            ·6· · · · A.· · Correct.
 ·7· · · · A.· · Counting this last one?                         ·7· · · · Q.· · At this point, he hadn't committed any
 ·8· · · · Q.· · Yes.                                            ·8· type of forcible felony or anything like that,
 ·9· · · · A.· · Say three.                                      ·9· correct?
 10· · · · Q.· · Okay.· When would be the first time you         10· · · · A.· · No.
 11· viewed the video?                                           11· · · · Q.· · And when you exited your vehicle, you
 12· · · · A.· · About a week after the incident.                12· were in full uniform?
 13· · · · Q.· · Okay.· And the second time?                     13· · · · A.· · Yes.
 14· · · · A.· · Same day.                                       14· · · · Q.· · And tell me what you -- what tools you
 15· · · · Q.· · Okay.· So you viewed it twice?                  15· had with you on your utility belt.
 16· · · · A.· · Viewed it -- did I say three times?             16· · · · A.· · Three pairs of handcuffs; three pistol
 17· · · · Q.· · Yeah.· You said three in total.                 17· magazines; I don't know if at the time I had -- OC
 18· · · · A.· · We watched it I think two times the             18· spray I think; a Taser with two cartridges; duty
 19· same day, and then this last recent time.                   19· weapon; flashlight; radio; and then a glove pouch.
 20· · · · Q.· · Okay.· And you reviewed your report in          20· · · · Q.· · What about a baton or an ASP?
 21· preparation for this deposition?                            21· · · · A.· · No.
 22· · · · A.· · Yes.                                            22· · · · Q.· · And what type of weapon were you
 23· · · · Q.· · Did you review anyone else's reports?           23· carrying?
 24· · · · A.· · No.                                             24· · · · A.· · Glock 22.


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                                 EXHIBIT A
 DUSTIN SUGARS, 06/27/2019                                                                        Page 34..37
                                                Page 34                                                    Page 36
  ·1· · · · Q.· · And how many does that hold in a          ·1· · · · A.· · I'd say the back door of his vehicle
  ·2· cartridge?                                            ·2· was parallel with the front of the other vehicle.
  ·3· · · · A.· · I want to say 16, but I -- I had 15       ·3· · · · Q.· · Okay.
  ·4· in all mine.                                          ·4· · · · A.· · So half.
  ·5· · · · Q.· · And did you have one in the chamber?      ·5· · · · Q.· · Okay.· And when you exited your
  ·6· · · · A.· · Yes.                                      ·6· vehicle, were you the first police officer --
  ·7· · · · Q.· · So that was locked -- ready and loaded,   ·7· · · · A.· · Yes.
  ·8· correct?                                              ·8· · · · Q.· · -- out --
  ·9· · · · A.· · Yes.                                      ·9· · · · A.· · Yes.
  10· · · · Q.· · And plus you had additional three         10· · · · Q.· · -- in the driveway?
  11· magazines which would be another 45 rounds?           11· · · · · · · · ·Okay.· Did you see anyone else?
  12· · · · A.· · Approximately, yes.                       12· · · · A.· · Yes.· A female.
  13· · · · Q.· · Okay.· When you exited your vehicle,      13· · · · Q.· · And where did you see a female?
  14· did you have anything in your hands?                  14· · · · A.· · In the middle of the driveway, coming
  15· · · · A.· · My duty weapon.                           15· from where the garage was.
  16· · · · Q.· · Tell me why you took your duty weapon     16· · · · · · · · ·The garage was kind of pushed back
  17· out?                                                  17· from the residence, and she was walking from that
  18· · · · A.· · Due -- due to the driver failing to       18· direction.
  19· stop.                                                 19· · · · Q.· · Describe that female.
  20· · · · Q.· · So for a minor traffic violation, you     20· · · · A.· · I can tell you it's a white female.
  21· take your weapon out?                                 21· · · · Q.· · I'm sorry?
  22· · · · A.· · Due to the driver failing to stop, yes.   22· · · · A.· · I can only tell you it's a white female.
  23· · · · Q.· · Okay.· When you exited your vehicle,      23· · · · Q.· · Okay.· And Mr. -- the gentleman who
  24· approximately how far were you from that vehicle?     24· was driving the car, Mr. Edwards, had you -- were

                                                Page 35                                                    Page 37
  ·1· · · · A.· · Say 30 feet.                              ·1· you able to see his face?
  ·2· · · · Q.· · Now, there was -- if I understand it,     ·2· · · · A.· · At that time, no.
  ·3· there was another vehicle that was parked in the      ·3· · · · Q.· · Okay.· And when you exited your vehicle
  ·4· driveway, correct?                                    ·4· and you saw this woman, what, if anything, did you
  ·5· · · · A.· · Correct.                                  ·5· do?
  ·6· · · · Q.· · The white Cadillac driven by              ·6· · · · A.· · I gave her directions to go back into
  ·7· Mr. Edwards, did Mr. Edwards pull on the driver's     ·7· the residence or go in the opposite direction.
  ·8· side of that vehicle or on the passenger side of      ·8· · · · Q.· · Tell me how you said that.
  ·9· that parked vehicle?                                  ·9· · · · A.· · I can't recall.
  10· · · · A.· · The passenger side.                       10· · · · Q.· · Do you recall what you said to her?
  11· · · · Q.· · Okay.· So this -- is this a wide          11· · · · A.· · I can't give you exact words.
  12· driveway?                                             12· · · · Q.· · Okay.· And was she carrying anything in
  13· · · · A.· · I'd say two -- a two-lane driveway.       13· her hand?
  14· You could put two cars side to side.                  14· · · · A.· · She was on her cell phone.
  15· · · · Q.· · So when he pulled alongside this parked   15· · · · Q.· · So she had a phone up to her ear?
  16· vehicle, did he pull -- was his front end past the    16· · · · A.· · Yes.
  17· front end of the other vehicle or --                  17· · · · Q.· · Were you able to see in the vehicle,
  18· · · · A.· · Yes.                                      18· the Cadillac?
  19· · · · Q.· · -- short of it?                           19· · · · A.· · I -- at that point, I still didn't look
  20· · · · A.· · He passed the vehicle.                    20· at the Cadillac yet.
  21· · · · Q.· · By about how much?                        21· · · · Q.· · Okay.· Did you have a spotlight on your
  22· · · · · · · · ·You don't have to give me feet-wise.   22· vehicle?
  23· Half a car length?· Quarter car length?· As best      23· · · · A.· · Yes.
  24· you can tell me.                                      24· · · · Q.· · Did you have the spotlight on that


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                                 EXHIBIT A
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                                                Page 38                                                    Page 40
  ·1· Cadillac?                                             ·1· the driver's side of the Cadillac?
  ·2· · · · A.· · During the -- following the vehicle,      ·2· · · · A.· · Yes.
  ·3· I did.· I don't know where exactly it was at the      ·3· · · · Q.· · So you had to go between the parked
  ·4· end.                                                  ·4· vehicle and the Cadillac, correct?
  ·5· · · · Q.· · Okay.· Did you -- before you got out of   ·5· · · · A.· · Yes.
  ·6· the car, did you maneuver it so the spotlight would   ·6· · · · Q.· · And at this point, you approached the
  ·7· be on the vehicle?                                    ·7· driver's side?
  ·8· · · · A.· · I can't recall.                           ·8· · · · A.· · Yes.
  ·9· · · · Q.· · But your headlights were on?              ·9· · · · Q.· · Fear for your life?
  10· · · · A.· · Yes.                                      10· · · · A.· · No.
  11· · · · Q.· · And your Mars lights were on?             11· · · · Q.· · But at this point, you had your gun
  12· · · · A.· · Yes.                                      12· out?
  13· · · · Q.· · And the spotlight was on?                 13· · · · A.· · Correct.
  14· · · · A.· · Yes.                                      14· · · · Q.· · With one in the chamber ready to go,
  15· · · · Q.· · Okay.· So it was pretty well-lit, the     15· correct?
  16· driveway, at that point?                              16· · · · A.· · Correct.
  17· · · · A.· · Yes.                                      17· · · · Q.· · Before you got to the driver's side
  18· · · · Q.· · Because you're angled and your vehicle    18· door, did you say anything?
  19· is angled towards that Cadillac?                      19· · · · A.· · Everything I said was towards the -- to
  20· · · · A.· · The front of the driveway was lit, yes.   20· the female before I got to the door.
  21· · · · · · · · ·There -- like I said, you get back     21· · · · Q.· · Okay.· So you didn't even say anything
  22· towards where the garage is kind of pushed back, it   22· to the driver until you actually got right to his
  23· was dark over there.                                  23· door, correct?
  24· · · · Q.· · Okay.· Do you know if there was any       24· · · · A.· · Correct.

                                                Page 39                                                    Page 41
  ·1· artificial lighting beyond that?                      ·1· · · · Q.· · And when you say you got to his door,
  ·2· · · · A.· · I can't recall.                           ·2· were you right next to the driver's door?
  ·3· · · · Q.· · So when you yell -- when you spoke to     ·3· · · · A.· · Yes.
  ·4· this woman, did you say it in an authoritative        ·4· · · · Q.· · Arm's length?
  ·5· manner?· Or did you just talk to her; say, Ma'am,     ·5· · · · A.· · Yes.
  ·6· you know, could you get back in the house?· Or did    ·6· · · · Q.· · Even closer?
  ·7· you --                                                ·7· · · · A.· · Possible.
  ·8· · · · A.· · I'd say "authorative."                    ·8· · · · Q.· · Okay.· So you didn't stop short of that
  ·9· · · · Q.· · Did you use any profanity?                ·9· driver's door?
  10· · · · A.· · I don't believe so.                       10· · · · A.· · I want to -- where the doorjamb is.
  11· · · · Q.· · And when you spoke to her, what, if       11· · · · Q.· · Okay.· And were you able to see within
  12· anything, did she do?                                 12· the car?
  13· · · · A.· · She complied and went back into the       13· · · · A.· · Yes.
  14· residence, as far as I knew at that time.             14· · · · Q.· · And you can -- you can see a gentleman
  15· · · · Q.· · Okay.· At that point, did you turn to     15· sitting there, correct?
  16· see where your fellow officers were?                  16· · · · A.· · Yes.
  17· · · · A.· · No.                                       17· · · · Q.· · Was he black, white?
  18· · · · Q.· · And what did you do?                      18· · · · A.· · Black.
  19· · · · A.· · I then addressed the driver of the        19· · · · Q.· · Okay.· Did you recall what he was
  20· vehicle.                                              20· wearing?
  21· · · · Q.· · From where?                               21· · · · A.· · No.
  22· · · · A.· · The driver's side door or just past the   22· · · · Q.· · Okay.· Did you see where his hands were?
  23· driver's side door.                                   23· · · · A.· · In his lap with a cell phone.
  24· · · · Q.· · So, at this point, you went on -- on      24· · · · Q.· · Okay.· So at this point, you know he's


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                                 EXHIBIT A
 DUSTIN SUGARS, 06/27/2019                                                                                   Page 42..45
                                                 Page 42                                                               Page 44
  ·1· got no weapon in his hands?· He's holding a cell       ·1· that you recall?
  ·2· phone?                                                 ·2· · · · A.· · Trying -- I remember trying to open the
  ·3· · · · A.· · No weapon in his hands?                    ·3· door; the doors were locked.
  ·4· · · · Q.· · Yeah.                                      ·4· · · · · · · · ·I remember telling him to open the
  ·5· · · · A.· · Correct.                                   ·5· door.
  ·6· · · · Q.· · Okay.· Was he on the cell phone, or was    ·6· · · · Q.· · So let me stop you right there.
  ·7· it just sitting in his lap?                            ·7· · · · · · · · ·You said you tried to open up the
  ·8· · · · A.· · I don't know if he was on it.· He had      ·8· door.
  ·9· it in his hand.· So I don't know speaker or not.       ·9· · · · · · · · ·Did you try to open up the door
  10· · · · Q.· · Okay.· Was it lit up?· I mean, when you    10· before you even said anything to him?
  11· turn a cell phone on, it lights up; and when you're    11· · · · A.· · I don't think so.· I think I gave him
  12· using it, it's lit up?                                 12· commands; and then because he wasn't complying, I
  13· · · · A.· · I can't -- I can't recall.                 13· tried to open the driver door.
  14· · · · Q.· · Okay.· Now, are you right-handed or        14· · · · Q.· · Is that how you've gone through your
  15· left-handed?                                           15· training, like within a couple years before that,
  16· · · · A.· · Right-handed.                              16· correct?
  17· · · · Q.· · When you had your weapon in your hand      17· · · · A.· · I've gone through lots of training,
  18· as you approached the vehicle, was it at your side,    18· correct.
  19· was it in a ready position, or was it pointing at      19· · · · Q.· · Okay.· Is that how you're supposed to
  20· the gentleman in the car?                              20· approach a vehicle when someone commits minor
  21· · · · A.· · It was pointing -- at what point?          21· traffic violations?
  22· · · · Q.· · As you approached the vehicle.             22· · · · A.· · Every situation is different.
  23· · · · A.· · As I was approaching the vehicle, it       23· · · · Q.· · Okay.· Are you trained to go up to a
  24· was pointed towards the vehicle or towards the         24· vehicle which has just completed some minor traffic

                                                 Page 43                                                               Page 45
  ·1· Cadillac.                                              ·1· violations with your gun drawn, pointed at the
  ·2· · · · Q.· · Were you ready to fire your weapon?        ·2· person in the vehicle?
  ·3· · · · A.· · Yes.                                       ·3· · · · A.· · For failing to stop, yes.
  ·4· · · · Q.· · Okay.· And at this point, the only         ·4· · · · Q.· · You were taught that, when somebody
  ·5· thing that has occurred is some traffic -- minor       ·5· fails to stop, you should have your gun pointed at
  ·6· traffic violations in fact, correct?                   ·6· them?
  ·7· · · · A.· · Correct.                                   ·7· · · · A.· · We -- we've done scenarios that --
  ·8· · · · Q.· · And you did not wait till your fellow      ·8· in-training scenarios.
  ·9· officers joined you, did you?                          ·9· · · · Q.· · Okay.· But did you say -- and, again,
  10· · · · A.· · I didn't know where they were.· So I       10· I 'm -- you may have answered this; but did you say
  11· don't know if they were with me already or not.        11· anything before you grabbed his door?
  12· · · · Q.· · Well, you knew they were behind you --     12· · · · A.· · I believe so, but I don't exactly
  13· · · · A.· · Correct.                                   13· remember what it was.
  14· · · · Q.· · -- when you pulled in, right?              14· · · · Q.· · Was the car running?
  15· · · · · · · · ·Okay.· But you ran up to this           15· · · · A.· · Yes.
  16· vehicle, right up to the driver's side, with your      16· · · · Q.· · Was the -- did you hear any music
  17· gun pointed at him, correct?                           17· playing?
  18· · · · A.· · I walked up.                               18· · · · A.· · I can't remember.
  19· · · · Q.· · Okay.· And what's the first thing you      19· · · · Q.· · So it's possible?
  20· said to the gentleman in the car?                      20· · · · A.· · Possible.
  21· · · · A.· · I can't recall unless I watch the video.   21· · · · Q.· · When you got to the door with your gun
  22· · · · Q.· · Okay.· Well --                             22· pointed at the gentleman and he tried to get the
  23· · · · A.· · Giving him directions.                     23· door open, did the gentleman look at you?
  24· · · · Q.· · Okay.· Well, what did you say to him       24· · · · A.· · Yes.


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                                 EXHIBIT A
 DUSTIN SUGARS, 06/27/2019                                                                         Page 46..49
                                                    Page 46                                                 Page 48
  ·1· · · · Q.· · Okay.· So you and he looked at each         ·1· the time you pulled out your flashlight.
  ·2· other?                                                  ·2· · · · A.· · I -- I don't remember what all was said
  ·3· · · · A.· · Yes.                                        ·3· during that time.
  ·4· · · · Q.· · Made eye contact?                           ·4· · · · Q.· · Other than telling him to open up the
  ·5· · · · A.· · Yes.                                        ·5· door, did you say anything else in that span?
  ·6· · · · Q.· · And when you tried to open the door,        ·6· · · · A.· · I can't recall.
  ·7· what, if anything, did -- was his response?             ·7· · · · Q.· · Okay.· So you didn't tell him, Open up
  ·8· · · · A.· · Nothing.· He just sat there.                ·8· your door or I'm going to break your window, did
  ·9· · · · Q.· · And looking just right at you, correct?     ·9· you?
  10· · · · A.· · Yes.                                        10· · · · A.· · No.
  11· · · · Q.· · With his phone in his lap?                  11· · · · MR. KUJAWA:· Just going to object.· He said
  12· · · · A.· · Yes.                                        12· already he doesn't remember.
  13· · · · Q.· · Because obviously you're concerned          13· BY MR. KULIS:
  14· about his hands.· So you looked at his hands,           14· · · · Q.· · So you gave him warning until prior --
  15· right?                                                  15· well, let me ask you this:· Did you give him any
  16· · · · A.· · Yes.                                        16· warning prior to taking your flashlight and trying
  17· · · · Q.· · What occurred then?                         17· to smash his window open?
  18· · · · A.· · So he was -- he wouldn't open the door,     18· · · · A.· · No.
  19· listen to directions.                                   19· · · · Q.· · Okay.· Would it be fair to say that
  20· · · · · · · · ·I attempted to open the driver door      20· that's a little startling?
  21· and the driver passenger door, and they're both         21· · · · A.· · Possible.
  22· locked.· Both windows were up.                          22· · · · Q.· · And this is all within you said maybe
  23· · · · · · · · ·Due to him not complying, I then         23· 20 seconds, correct?
  24· took my flashlight out because I didn't have a          24· · · · A.· · Correct.

                                                    Page 47                                                 Page 49
  ·1· baton and attempted to break the driver window.     ·1· · · · Q.· · Now, you're taught in -- in -- whether
  ·2· · · · Q.· · Well, this is January.· So you don't    ·2· it be a traffic stop or if you're dealing with --
  ·3· expect people to be driving with all the windows    ·3· with someone on the street that there's certain
  ·4· open, do you?                                       ·4· manners to approach people so you don't escalate
  ·5· · · · A.· · It depends.                             ·5· or heighten a situation, correct?
  ·6· · · · Q.· · Most like -- most --                    ·6· · · · A.· · Yes.
  ·7· · · · A.· · Yes.                                    ·7· · · · Q.· · Would it be fair to say that walking
  ·8· · · · Q.· · -- likely not, correct?                 ·8· up to his car with your flashlight and start
  ·9· · · · A.· · Correct.                                ·9· smashing his -- trying to smash his window would
  10· · · · Q.· · Okay.· So from the point that you       10· escalate the situation?
  11· walked up to the door and tried to open up that     11· · · · A.· · Depended on the situation.
  12· door to the point that you pulled out your          12· · · · Q.· · Wouldn't it be fair to say that the
  13· flashlight, how much time elapsed?· Approximately. 13· person sitting in the vehicle, whoever is sitting
  14· · · · A.· · Say 20 seconds.                         14· in a vehicle, would be a bit startled if within --
  15· · · · Q.· · And in that period of time, how many    15· without any warning, you started to try to smash
  16· times did you tell him to open up the door?         16· his window?
  17· · · · A.· · Unknown.                                17· · · · MR. KUJAWA:· I'll just object to the form of
  18· · · · Q.· · More than once?                         18· the question.· Foundation.· Incomplete
  19· · · · A.· · I -- I couldn't give you a number.      19· hypothetical.
  20· · · · Q.· · Okay.· Other than saying, Open up your  20· · · · · · · · ·If you understand it and are able to
  21· door, did you say anything else to him?             21· answer it, you can answer it.
  22· · · · A.· · Later on, yes.                          22· · · · THE WITNESS:· Can you rephrase it or state it
  23· · · · Q.· · Okay.· I'm talking about before -- I'm  23· again?
  24· talking about the span from the time you arrived to 24


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                                 EXHIBIT A
 DUSTIN SUGARS, 06/27/2019                                                                                    Page 50..53
                                                     Page 50                                                       Page 52
  ·1· BY MR. KULIS:                                            ·1· · · · Q.· · Okay.· So knowing those facts at that
  ·2· · · · Q.· · Sure.· Wouldn't it be fair to say that       ·2· point, what was the urgency of having to try to
  ·3· if you walked up to someone's window without             ·3· smash his window?
  ·4· warning and started trying to smash their window         ·4· · · · A.· · Again, there was no urgency; but even
  ·5· open with your flashlight, that would escalate the       ·5· with his hands on his lap, you don't -- the unknown
  ·6· situation?                                               ·6· of what's in the car is still there.
  ·7· · · · MR. KUJAWA:· If you understand it and are          ·7· · · · Q.· · But that's with every traffic stop?
  ·8· able to answer, you can answer it.                       ·8· · · · A.· · Correct.
  ·9· BY MR. KULIS:                                            ·9· · · · Q.· · And when you make other traffic stops,
  10· · · · Q.· · You don't think it would?                    10· you don't just go up and start smashing somebody's
  11· · · · A.· · Again, I'd say it depended on the            11· window, do you?
  12· situation.                                               12· · · · A.· · Every -- oh, I'd say 90 percent of my
  13· · · · Q.· · Okay.· Wouldn't it startle that person?      13· traffic stops, they don't -- or they all stop
  14· · · · A.· · Unknown.                                     14· when -- when the lights come on.
  15· · · · Q.· · Don't you think it would -- might make       15· · · · Q.· · Okay.· And because he didn't stop, were
  16· somebody fearful?                                        16· you upset?
  17· · · · A.· · Possible.                                    17· · · · A.· · Not upset.
  18· · · · Q.· · Again, without warning that you're           18· · · · Q.· · Were you speaking calmly to him?
  19· going to start smashing his window, you start            19· · · · A.· · I'd say in a louder voice, but I'd say
  20· smashing his window.· You don't think that's going       20· I was calm.
  21· to make somebody fearful?                                21· · · · Q.· · Okay.· When you tried to smash his
  22· · · · MR. KUJAWA:· I'm just going to object to the       22· window with your flashlight, did you -- how many
  23· form of the question.· It misstates his testimony.       23· times did you hit it?
  24· It assumes facts not in evidence.                        24· · · · A.· · Once.


                                                     Page 51                                                            Page 53
  ·1· · · · · · · · ·If you understand it and you're able      ·1· · · · Q.· · Okay.· And what was his reaction?
  ·2· to answer it, you can answer.                            ·2· · · · A.· · To me, it appeared he got upset.
  ·3· · · · THE WITNESS:· I'd -- I'd say it's possible.        ·3· · · · Q.· · Okay.· Did he jump?
  ·4· BY MR. KULIS:                                            ·4· · · · A.· · I don't believe so.
  ·5· · · · Q.· · Okay.· And you don't recall telling          ·5· · · · Q.· · So when you said he got upset, what
  ·6· him, Open this door or I'm going to smash your           ·6· made you think that?
  ·7· window in?                                               ·7· · · · A.· · He looked at me and told me to fuck off.
  ·8· · · · A.· · No.                                          ·8· · · · Q.· · Okay.
  ·9· · · · Q.· · Okay.· What was the urgency at this          ·9· · · · A.· · Or, Fuck -- fuck you, I think it was.
  10· point to get him out of the car?                         10· · · · Q.· · And what was your reaction to that?
  11· · · · A.· · I would say there was no urgency.· We        11· · · · A.· · I don't think I said anything to him.
  12· were just taking the next steps.                         12· · · · · · · · ·I think at that point is when I
  13· · · · Q.· · Well, at this point, he's committed          13· turned to the other officers and asked for a baton.
  14· just minor traffic violations, correct?                  14· · · · Q.· · So you didn't even try to talk him out
  15· · · · A.· · Correct.                                     15· of the car at this point?
  16· · · · Q.· · And obviously, as an officer, you're         16· · · · A.· · No.
  17· concerned about your safety, right?                      17· · · · Q.· · Because he said, Fuck you, you asked
  18· · · · A.· · Correct.                                     18· for a baton?
  19· · · · Q.· · And you've got your weapon trained on        19· · · · A.· · Correct.
  20· this man in the -- through his car window, right?        20· · · · Q.· · And who did you ask that of?
  21· · · · A.· · Correct.                                     21· · · · A.· · In the direction of the other officers.
  22· · · · Q.· · Plus you see his hands in his lap            22· So I'd say it was a community question.
  23· holding a cell phone?                                    23· · · · Q.· · Okay.· So at this point, you know that
  24· · · · A.· · Correct.                                     24· there's other officers there too?


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                                 EXHIBIT A
 DUSTIN SUGARS, 06/27/2019                                                                       Page 54..57
                                                Page 54                                                   Page 56
  ·1· · · · A.· · Yes.                                      ·1· · · · A.· · Eventually, yes.
  ·2· · · · Q.· · And where were they, and who were they?   ·2· · · · Q.· · When you say eventually, what do you
  ·3· · · · A.· · I remember seeing Cater.                  ·3· mean by that?
  ·4· · · · Q.· · Okay.· So you're at the driver's side.    ·4· · · · A.· · Well, I asked for a baton and then I
  ·5· · · · · · · · ·Where is Cater?                        ·5· went and focused back on the driver at that time.
  ·6· · · · A.· · He was at the rear passenger side of      ·6· · · · · · · · ·So at the time I had my flashlight
  ·7· the vehicle.                                          ·7· out, I had my duty weapon put away.· Once -- once
  ·8· · · · Q.· · Okay.· By the back door?                  ·8· the window didn't break with the flashlight, I put
  ·9· · · · A.· · No.· I'd say by the taillight on the      ·9· that away and grabbed my duty weapon again and then
  10· passenger side.                                       10· reassessed the driver.
  11· · · · Q.· · Okay.· And who else was there?            11· · · · · · · · ·And I gave -- I told him and --
  12· · · · A.· · Riley.                                    12· to -- to an attempt to gain compliance with him,
  13· · · · Q.· · And where was Riley?                      13· I told him if he -- he's -- he's going to get shot.
  14· · · · A.· · Was on the driver's side by the           14· · · · Q.· · So you're going to shoot somebody for
  15· driver's side taillight.                              15· not opening up their door?
  16· · · · Q.· · Okay.· And did Riley have his weapon      16· · · · MR. KUJAWA:· Objection.
  17· out?                                                  17· · · · THE WITNESS:· So he --
  18· · · · A.· · At that time, I don't remember, but ...   18· BY MR. KULIS:
  19· · · · Q.· · Do you recall if Cater had his weapon     19· · · · Q.· · That's what you informed the driver,
  20· out?                                                  20· right?
  21· · · · A.· · Yes.                                      21· · · · MR. KUJAWA:· That's not what he -- misstates
  22· · · · Q.· · Okay.· So at this point, there's two      22· his testimony.· Assumes facts not in evidence.
  23· officers pointing weapons at this guy, right?         23· · · · · · · · ·If you -- if you have an answer,
  24· · · · A.· · Yes.                                      24· you can go ahead.

                                                Page 55                                                   Page 57
  ·1· · · · Q.· · Within 20 seconds of you getting out of   ·1· · · · MR. KULIS:· Could you read that question
  ·2· your vehicle?                                         ·2· back?
  ·3· · · · A.· · Yes.                                      ·3· · · · · · · · · · · (Record read as follows:
  ·4· · · · Q.· · Before you try to smash the window, did   ·4· · · · · · · · · · · ·"Q.· So you're going to shoot
  ·5· you hear either Cater or Riley say anything?          ·5· · · · · · · · · · · ·somebody for not opening up
  ·6· · · · A.· · I don't remember what Cater said, but I   ·6· · · · · · · · · · · ·their door?")
  ·7· could hear his voice.                                 ·7· · · · THE WITNESS:· No.
  ·8· · · · Q.· · But you don't recall what he said?        ·8· BY MR. KULIS:
  ·9· · · · A.· · No.                                       ·9· · · · Q.· · You told him you were going to, though,
  10· · · · Q.· · Did you hear either one of those          10· right?
  11· officers or any officers speaking to the woman at     11· · · · A.· · I didn't tell him I was going to shoot
  12· the house?                                            12· him.
  13· · · · A.· · I can't say who they were talking to.     13· · · · Q.· · What did you say?
  14· I just remember someone else talking.                 14· · · · A.· · I said he was going to get shot.
  15· · · · Q.· · Did the woman go in the house or did      15· · · · Q.· · Okay.· Because you knew you had your
  16· the woman stay out on the -- outside?                 16· weapon out and Cater had -- had his weapon out,
  17· · · · A.· · I don't know.· I just know she walked     17· correct?
  18· to the rear of the house.                             18· · · · MR. KUJAWA:· I'm going to object to the form
  19· · · · Q.· · Okay.· So now we're in there like 20      19· of the question.
  20· seconds; and you hit the window once, it won't        20· BY MR. KULIS:
  21· crack; and you ask a general question for a baton,    21· · · · Q.· · I mean, at this point in time when you
  22· correct?                                              22· said that, you knew you had your weapon out and
  23· · · · A.· · Yes.                                      23· Cater had his weapon out, right?
  24· · · · Q.· · And did somebody provide you a baton?     24· · · · A.· · I knew I had my weapon out at that


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                                 EXHIBIT A
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                                                Page 58                                                              Page 60
  ·1· time.                                                 ·1· weapon?
  ·2· · · · · · · · ·When I earlier stated Cater had his    ·2· · · · A.· · No.
  ·3· weapon out, I don't know if he still had it out.      ·3· · · · Q.· · You never called out that he might have
  ·4· · · · Q.· · Okay.· But you tell the driver,           ·4· a weapon?
  ·5· Mr. Edwards, that he's going to get shot?             ·5· · · · A.· · No.
  ·6· · · · A.· · Correct.                                  ·6· · · · Q.· · And obviously you're not -- you are
  ·7· · · · Q.· · Why would you tell him that?              ·7· standing right next to him.· So you're not
  ·8· · · · A.· · To attempt to gain compliance with him    ·8· concerned that he has a gun and he's going to shoot
  ·9· because nothing else was working.                     ·9· you?
  10· · · · Q.· · Well, we're into this 20 seconds,         10· · · · A.· · I can't say yes to that --
  11· right?                                                11· · · · Q.· · Okay.
  12· · · · A.· · By then, it was more.                     12· · · · A.· · -- because I don't know what he has in
  13· · · · Q.· · Okay.· So after you tried to break the    13· the car.
  14· window with your flashlight, when did you tell him    14· · · · Q.· · Well, you didn't -- I'm sorry. I
  15· he was going to get shot?                             15· didn't mean to cut you off.
  16· · · · A.· · After I asked for the baton and then      16· · · · · · · · ·You didn't give yourself any space?
  17· reassessed him, pulled my duty weapon back out, and   17· I mean, you were right up to this window with this
  18· then I think I told him.                              18· guy, right?
  19· · · · Q.· · So, at this point, how did you get this   19· · · · A.· · Correct.
  20· baton?                                                20· · · · Q.· · Okay.· So somebody throws a baton and
  21· · · · A.· · So I never got the baton.· Like it was    21· it lands up near the front wheel well, right?
  22· never handed to me.                                   22· · · · A.· · It landed on top of the Cadillac and
  23· · · · · · · · ·So, while still confronting            23· rolled off.
  24· Mr. Edwards in the driver's seat, a baton was         24· · · · Q.· · Okay.


                                                Page 59                                                              Page 61
  ·1· thrown from somewhere.· I have no idea which way it   ·1· · · · A.· · Ended up by the front wheel.
  ·2· came from, and it hit the top of the vehicle and it   ·2· · · · Q.· · And what occurs then?
  ·3· rolled off to the driver front tire area.             ·3· · · · A.· · I then reached down to grab the baton
  ·4· · · · Q.· · Okay.· And at this point, was -- were     ·4· and while I'm reaching down -- yeah, reaching down
  ·5· you holding your gun?                                 ·5· to grab the baton; and while I'm grabbing that, I
  ·6· · · · A.· · Yes.                                      ·6· hear the engine rev and the vehicle -- as I'm down,
  ·7· · · · Q.· · So you had taken your gun out again?      ·7· the vehicle starts going backwards.
  ·8· · · · A.· · So I had my gun out at the very           ·8· · · · Q.· · When you say rev, what do you mean?
  ·9· beginning of the stop, put it away to grab my         ·9· · · · A.· · As in someone's hitting the gas,
  10· flashlight.                                           10· revving the engine up.
  11· · · · · · · · ·After the flashlight didn't break      11· · · · Q.· · Okay.· And so you're the first person
  12· it, I asked for the baton and pulled my weapon out    12· there, right?
  13· then, for the second time, and that was it.           13· · · · A.· · Yes.
  14· · · · Q.· · Well, if you asked for the baton, why     14· · · · Q.· · Okay.· So when the engine revs, do you
  15· did you pull out your weapon again?                   15· see the engine -- the car go forward?
  16· · · · A.· · Because I turned and reassessed the       16· · · · A.· · No.
  17· driver, and no one said they had a baton.             17· · · · Q.· · Where did it go?
  18· · · · Q.· · Okay.· And, again, the driver is still    18· · · · A.· · Reverse.
  19· sitting there, right?                                 19· · · · Q.· · Well, did you ever see him put it in
  20· · · · A.· · Yes.                                      20· reverse?
  21· · · · Q.· · And you're within arm's length of the     21· · · · A.· · I never seen him put it in reverse. I
  22· driver, right?                                        22· seen him mess with the -- the gear shifter, but
  23· · · · A.· · Yes.                                      23· I don't know what it was in.
  24· · · · Q.· · And at this point, you don't see any      24· · · · Q.· · Well, did you hear it going, the gear


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                                 EXHIBIT A
 DUSTIN SUGARS, 06/27/2019                                                                                     Page 62..65
                                                Page 62                                                             Page 64
  ·1· shift?                                                ·1· · · · Q.· · Okay.· And you don't know who threw the
  ·2· · · · A.· · No.· I just saw him shift it.             ·2· baton to you?
  ·3· · · · Q.· · When -- when did you see him shift it?    ·3· · · · A.· · At that time, no.
  ·4· · · · A.· · During -- I don't know the exact point.   ·4· · · · Q.· · Later on, you found out, correct?
  ·5· It was before the baton -- before the baton hit his   ·5· · · · A.· · Yes.
  ·6· roof.· I can't give you an exact moment that it       ·6· · · · Q.· · So prior to you bending down to get
  ·7· happened.                                             ·7· the baton, do you recall any words that any of the
  ·8· · · · Q.· · Okay.· So the -- before the baton hit     ·8· other officers said to Mr. Edwards?
  ·9· his roof, he shifted gears or you saw him playing     ·9· · · · A.· · No.
  10· with the --                                           10· · · · Q.· · Do you -- did anyone -- do you know if
  11· · · · A.· · Yes.                                      11· anyone said anything?
  12· · · · Q.· · -- the gear shift?                        12· · · · · · · · ·You may not remember the words, but
  13· · · · · · · · ·And was that gear shift on the         13· do you know if anyone said anything?
  14· column or was it be- -- between the seats?            14· · · · A.· · I don't.· I don't -- I don't know.
  15· · · · A.· · It was up by the steering wheel.          15· · · · Q.· · Okay.· So you don't recall anybody
  16· · · · Q.· · Okay.· So you see his right hand and      16· screaming at Nathaniel Edwards?
  17· he's -- he's playing with the gear, but you don't     17· · · · A.· · No.
  18· hear anything?                                        18· · · · Q.· · Okay.· And then you bend over and
  19· · · · A.· · Correct.                                  19· you -- do you grab the baton?
  20· · · · Q.· · Okay.· And then the baton hits and then   20· · · · A.· · I believe so.· I -- I -- I can't
  21· you bend over, right?                                 21· remember.· I know I had the baton at some point.
  22· · · · A.· · Yes.                                      22· · · · Q.· · And what happens then?
  23· · · · Q.· · Other than -- because you told us that    23· · · · A.· · So the car goes in reverse.· And then I
  24· you said one time, Open up the door; and then you     24· hear several shots coming from somewhere behind me.

                                                Page 63                                                             Page 65
  ·1· said, You're going to get shot -- is there anything   ·1· · · · Q.· · Okay.· You said that you heard the
  ·2· else that you say to him?                             ·2· vehicle rev.
  ·3· · · · A.· · As far as I can remember, I -- I don't    ·3· · · · · · · · ·What do you mean by rev?
  ·4· know.· I don't know what was all said.                ·4· · · · A.· · As in someone hitting the gas, and then
  ·5· · · · Q.· · And when you go get to -- to the baton,   ·5· the vehicle started to go backwards.
  ·6· do you holster your weapon again?                     ·6· · · · Q.· · At a fast pace?
  ·7· · · · A.· · I can't remember.                         ·7· · · · A.· · Unknown.· My back was towards it at
  ·8· · · · Q.· · I mean, you weren't going to shoot him    ·8· that point.· Once -- once I was reaching for the
  ·9· at that point, were you?                              ·9· baton and the vehicle revved and went back, the
  10· · · · A.· · As I'm bending down?                      10· shots came, and then I went around the other car.
  11· · · · Q.· · Yeah.                                     11· · · · Q.· · From the time you heard the engine rev
  12· · · · A.· · No.                                       12· to the time you heard the shots, how much time
  13· · · · Q.· · Okay.· And -- and prior -- I mean, now    13· elapsed, approximately?
  14· you're moving a little forward, putting yourself      14· · · · A.· · I'd say five seconds.
  15· more at risk, correct?                                15· · · · Q.· · Okay.· So the -- so the car revved and
  16· · · · A.· · Yes.                                      16· it started to move and then five seconds elapsed
  17· · · · Q.· · Okay.· But at this point, you holster     17· and then you heard shots?
  18· your weapon?                                          18· · · · A.· · Within that time, yes.
  19· · · · A.· · Unknown.                                  19· · · · Q.· · Okay.· You said the car moved.
  20· · · · Q.· · Okay.· And is Riley still behind you      20· · · · · · · · ·How far did the -- was -- did the
  21· near the rear of the car?                             21· car move before the shots or after the shots?
  22· · · · A.· · Unknown.                                  22· · · · A.· · Before.
  23· · · · Q.· · And do you know where Cater is?           23· · · · Q.· · I thought you said you had your back to
  24· · · · A.· · No.                                       24· it.


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                                 EXHIBIT A
 DUSTIN SUGARS, 06/27/2019                                                                                          Page 66..69
                                                            Page 66                                                             Page 68
  ·1· · · · A.· · As I'm sitting next to it, the car goes             ·1· · · · A.· · I'd say approximate.
  ·2· in reverse; and then I start going this way because             ·2· · · · Q.· · When you heard the engine rev, did
  ·3· the shots are coming.                                           ·3· you -- like did the tires squeal, because when I
  ·4· · · · · · · · ·So I watched the front tire of the               ·4· think of revving engine, I think of "vroooom."
  ·5· car go back, and then that was it.                              ·5· · · · A.· · I can't recall.
  ·6· · · · Q.· · How -- so you watched the tires.                    ·6· · · · Q.· · I mean, that's not going to come out on
  ·7· · · · · · · · ·So how far did it go back before you             ·7· the transcript, but --
  ·8· heard the first shot?                                           ·8· · · · A.· · Just I -- I just remember the engine
  ·9· · · · A.· · Several feet -- well, no.· I'd say,                 ·9· revved and it sounded to me like someone's hitting
  10· yeah, probably like two feet.                                   10· the gas.· I don't remember a squealing of anything.
  11· · · · Q.· · In a -- at a high rate of speed?                    11· · · · Q.· · Okay.· Did you -- okay.· And then you
  12· · · · A.· · I just remember the car backing up for              12· saw the tire move a couple feet, and then you heard
  13· a short distance.· So I can't judge the -- the                  13· a shot?
  14· speed of this car.                                              14· · · · A.· · Yes.
  15· · · · · · · · ·And then the shots came, and that's              15· · · · Q.· · And how many shots did you hear?
  16· when I went to the left.                                        16· · · · A.· · At that time, approximately -- it
  17· · · · Q.· · So, at that point, you don't know what              17· sounded approximately three to five.
  18· happened after that?                                            18· · · · Q.· · Okay.· Were they -- was there time in
  19· · · · A.· · No.                                                 19· between, or were they in succession?
  20· · · · Q.· · You don't know how far the car went?                20· · · · A.· · I believe in -- in succession.· I don't
  21· · · · A.· · No.                                                 21· think it was a pause or anything.
  22· · · · Q.· · When you looked up -- and I'm kind of               22· · · · Q.· · When you heard the shots, was your
  23· jumping ahead a little.· When you looked up and saw 23· weapon out or was it in your duty belt?
  24· the white Cadillac again, was it stopped?           24· · · · A.· · Unknown.

                                                            Page 67                                                             Page 69
  ·1· · · · A.· · I believe so.                                       ·1· · · · Q.· · Okay.· When you're going -- when you
  ·2· · · · Q.· · How far had it traveled?                            ·2· were going to break the window, what was your plan
  ·3· · · · A.· · Several feet.                                       ·3· at that point?
  ·4· · · · Q.· · West?                                               ·4· · · · A.· · Break the window and then unlock the
  ·5· · · · A.· · I couldn't ...                                      ·5· vehicle and then get access to the driver.
  ·6· · · · Q.· · I'm not -- I don't -- I don't -- I'm                ·6· · · · Q.· · Okay.· Why wouldn't you just try to
  ·7· not trying to hold you within inches or a foot                  ·7· talk to the guy and say, Hey, listen, pal.· Get out
  ·8· but --                                                          ·8· of the car?
  ·9· · · · A.· · Right.                                              ·9· · · · A.· · That's not how this situation went.
  10· · · · Q.· · -- you know, several feet could mean --             10· · · · Q.· · Well, we ultimately know that's not how
  11· several could mean three; several could mean 30.                11· it went.
  12· · · · · · · · ·So I'm just kind of ...                          12· · · · · · · · ·My question to you is:· Why didn't
  13· · · · A.· · I'd say approximately ten.                          13· it go that way?
  14· · · · Q.· · So that the whole -- from the point                 14· · · · A.· · I don't know.
  15· when you first approached the car from where it was 15· · · · Q.· · Are you taught -- were you taught in
  16· parked to where it ended up would have been ten                 16· your training to go up to vehicles and just smash
  17· feet?                                                           17· their windows when they -- when they won't exit a
  18· · · · MR. KUJAWA:· Approximately.                               18· vehicle?
  19· BY MR. KULIS:                                                   19· · · · A.· · When they won't exit a vehicle, were we
  20· · · · Q.· · Approximately, yeah.· I'm just saying               20· trained to smash a vehicle window?· I -- we've --
  21· approximately, yeah.                                            21· there's been scenarios, yes.
  22· · · · A.· · It could -- could be more, could be                 22· · · · Q.· · Well, there are -- are scenarios for
  23· less.· I -- I'm not good with distance.· So ...                 23· anything.
  24· · · · Q.· · I'm just getting a general picture.                 24· · · · A.· · Correct.


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                                 EXHIBIT A
 DUSTIN SUGARS, 06/27/2019                                                                         Page 70..73
                                                     Page 70                                               Page 72
  ·1· · · · Q.· · I'm talking about this scenario.        ·1· · · · Q.· · I'm going to have you look at paragraph
  ·2· · · · · · · · ·Within 20 seconds to smash a window  ·2· 300.4.1.
  ·3· of a car?                                           ·3· · · · · · · · ·The first sentence states:· Shots
  ·4· · · · A.· · I'd say it depends on the situation.    ·4· fired at or from a moving vehicle are rarely
  ·5· · · · Q.· · Okay.· Other than saying, Fuck you, to  ·5· effective.
  ·6· you, is -- is there anything else that Mr. Edwards  ·6· · · · · · · · ·Do you agree with that?
  ·7· said to you?                                        ·7· · · · A.· · Yeah.
  ·8· · · · A.· · When I told him he was going to get     ·8· · · · Q.· · Okay.· Now, in this case, though, you
  ·9· shot, he said, Fuck you, bitch, shoot me.           ·9· had told Mr. Edwards within 20 seconds that you
  10· · · · · · · · ·As he was looking right at me.       10· were going to sh- -- he was going to get shot?
  11· · · · · · · · ·And then he put his head against the 11· · · · A.· · Yes.
  12· window where my gun was pointed.                    12· · · · Q.· · And this is despite what your policy
  13· · · · Q.· · Okay.· So, at this point, again, he's   13· states, correct?
  14· not threatening you?                                14· · · · A.· · Yes.
  15· · · · A.· · He's not complying either.              15· · · · Q.· · Okay.· Now, when he -- when the car
  16· · · · Q.· · I understand.                           16· was moving, you don't know where Off- -- Officer
  17· · · · · · · · ·So he had his head against the       17· "Cattar" was or --
  18· window and your response to that was to smash the 18· · · · MR. BROOKS:· Cater.
  19· window?                                             19· BY MR. KULIS:
  20· · · · A.· · Yes.                                    20· · · · Q.· · Cater.· I'm sorry.· Cater or --
  21· · · · Q.· · With his head against the window?       21· · · · MR. BROOKS:· Riley.
  22· · · · A.· · His head wasn't against the window when 22· BY MR. KULIS:
  23· I first tried to hit it with the flashlight, and    23· · · · Q.· · -- I'm losing my mind, Riley was?
  24· then his head wasn't against the window when the    24· · · · A.· · Yeah.

                                                     Page 71                                               Page 73
  ·1· baton hit the top of the car.                            ·1· · · · Q.· · Yeah.
  ·2· · · · · · · · ·It was just -- right after I said         ·2· · · · A.· · No.
  ·3· that, is when he put his head against the window         ·3· · · · Q.· · So you --
  ·4· and then he went back to doing ...                       ·4· · · · MR. BROOKS:· You want to ask that again?
  ·5· · · · Q.· · Sitting there.                               ·5· Just to ...
  ·6· · · · A.· · Correct.                                     ·6· BY MR. KULIS:
  ·7· · · · Q.· · I'm going to show you what is marked as      ·7· · · · Q.· · Yeah.· When the car started to move
  ·8· Sugars Exhibit Number 1.                                 ·8· back, you don't know where Cater or Riley were?
  ·9· · · · · · · · ·You have this already?                    ·9· · · · A.· · No.
  10· · · · MR. KUJAWA:· What is that?· Is it the policy?      10· · · · Q.· · So you don't know if they were in
  11· · · · MR. KULIS:· The use of force policy.               11· harm's way?
  12· · · · MR. KUJAWA:· Yeah.                                 12· · · · A.· · No.
  13· BY MR. KULIS:                                            13· · · · Q.· · But the policy does state that:
  14· · · · Q.· · Now, this is Rock Falls' use of force        14· Officers should move out of the path of an
  15· policy, correct?· This is the only pol- -- police        15· approaching vehicle instead of discharge- --
  16· policy you've ever been trained under, correct?          16· discharging their weapon at the vehicle or any of
  17· · · · A.· · No.                                          17· its occupants.
  18· · · · Q.· · What other police policies?                  18· · · · · · · · ·Correct?
  19· · · · A.· · I was a military police officer in the       19· · · · A.· · Yes.
  20· Marine Corps, and they have their own use of force       20· · · · Q.· · And when you saw Cater, Cater was at
  21· policy.                                                  21· the back passenger side, correct?
  22· · · · Q.· · Ah.· Which can differ?· Some can             22· · · · A.· · I'd say passenger rear corner of the
  23· differ, correct?                                         23· vehicle.
  24· · · · A.· · Correct.                                     24· · · · Q.· · Was there anything behind him?


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                                 EXHIBIT A
 DUSTIN SUGARS, 06/27/2019                                                                       Page 74..77
                                                Page 74                                                   Page 76
  ·1· · · · A.· · My squad --                               ·1· maybe.
  ·2· · · · Q.· · But that was within --                    ·2· · · · Q.· · Now, this is the -- the policy that
  ·3· · · · A.· · -- but I don't know the distance.         ·3· you've -- that was in effect on that day, correct?
  ·4· · · · Q.· · That was within, what, 15, 20 feet,       ·4· · · · A.· · Yes.
  ·5· right, or 30 feet?                                    ·5· · · · Q.· · And this is the policy that as a Rock
  ·6· · · · A.· · Within, yeah.                             ·6· Falls officer you swore to uphold, correct?
  ·7· · · · Q.· · Okay.· There was nothing blocking his     ·7· · · · A.· · Yes.
  ·8· ability to back away, correct?                        ·8· · · · Q.· · When Officer Cater fired, did you see
  ·9· · · · MR. KUJAWA:· Objection.· Foundation.            ·9· any flashes from his weapon?
  10· Speculation.                                          10· · · · A.· · No.· It was all behind me.
  11· · · · · · · · ·If you know, you can answer.           11· · · · Q.· · Okay.· And when you heard the shots,
  12· BY MR. KULIS:                                         12· did you know -- and I might have asked you this.
  13· · · · Q.· · That you saw.                             13· Did you know who fired?
  14· · · · A.· · I don't know.· I -- because where he      14· · · · A.· · No.
  15· was would have been in the yard.· I don't know what   15· · · · Q.· · Now, you were the first officer that
  16· was in the yard.                                      16· engaged Mr. Edwards, correct?
  17· · · · Q.· · Okay.· And you were near the front of     17· · · · A.· · Yes.
  18· the parked vehicle that was alongside the Cadillac,   18· · · · Q.· · And this was a traffic stop which
  19· correct?                                              19· ultimately turned into a homicide?
  20· · · · A.· · Rephrase that again.                      20· · · · MR. KUJAWA:· Objection.· Form of the
  21· · · · Q.· · When the -- yeah, bad question.           21· question.· Misstates the evidence or assumes facts
  22· · · · · · · · ·When the first shot was fired, you     22· not in evidence.
  23· were standing near the front of the Cadillac,         23· BY MR. KULIS:
  24· bending over but near the front of the parked         24· · · · Q.· · Well, Mr. Edwards was a homicide

                                                Page 75                                                   Page 77
  ·1· vehicle?                                              ·1· victim, correct?· He was shot and killed?
  ·2· · · · A.· · I don't know where I was compared to      ·2· · · · MR. KUJAWA:· I'm going to object to the form
  ·3· the parked vehicle; but, yes, I was next to the       ·3· of the question.· It assumes fact not in evidence.
  ·4· front of the white Cadillac.                          ·4· · · · · · · · ·If you understand the question, are
  ·5· · · · Q.· · When you heard the first shot go off,     ·5· able to answer it, you can.
  ·6· what did you do and where did you go?                 ·6· · · · THE WITNESS:· No.
  ·7· · · · A.· · I went in a southeast direction around    ·7· BY MR. KULIS:
  ·8· the other -- I think it was a Cadillac -- around      ·8· · · · Q.· · He was not a victim of a homicide?
  ·9· the other Cadillac, and then came back around that,   ·9· · · · A.· · No, as in I don't know how to answer
  10· and then reassessed the white Cadillac.               10· that question.
  11· · · · Q.· · You had no problem moving out of the      11· · · · Q.· · You don't what?
  12· way, right?                                           12· · · · A.· · I don't know how to answer that
  13· · · · A.· · No.                                       13· question.
  14· · · · Q.· · Even though there was a car right next    14· · · · Q.· · Okay.· Well, it -- well, he was shot
  15· to you, correct?                                      15· and killed, correct?
  16· · · · A.· · I wouldn't say right next to me.          16· · · · A.· · Correct.
  17· · · · Q.· · How far was the car -- the passenger      17· · · · Q.· · And that's a homicide, correct?
  18· side of the parked car, how far was that from the     18· · · · MR. KUJAWA:· Objection.· It calls for a legal
  19· Cadillac?· The space between those two.               19· conclusion.
  20· · · · A.· · I'd say five or -- I had enough room to   20· BY MR. KULIS:
  21· fit through them, and I -- I -- in my opinion,        21· · · · Q.· · Okay.· You're also a police officer.
  22· someone else could have fit through there --          22· · · · · · · · ·What is a homicide?
  23· · · · Q.· · Okay.                                     23· · · · A.· · I won't clarify that as a homicide.
  24· · · · A.· · -- next to me.· I'd say five feet,        24· · · · Q.· · Okay.· Well, what is a homicide then?


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                                 EXHIBIT A
 DUSTIN SUGARS, 06/27/2019                                                                      Page 78..81
                                                Page 78                                                  Page 80
  ·1· · · · A.· · Someone gets killed.                      ·1· · · · MR. KUJAWA:· Yeah.
  ·2· · · · Q.· · Okay.· He was killed, right?              ·2· · · · MR. BROOKS:· Okay.
  ·3· · · · · · · · ·We're not saying it was unjustified,   ·3· · · · MR. KULIS:· Oh, okay.
  ·4· justified; but he was killed?                         ·4· · · · MR. KUJAWA:· You seem surprised it's being
  ·5· · · · A.· · Correct.                                  ·5· done correctly.
  ·6· · · · Q.· · Okay.· But you were the officer who did   ·6· BY MR. KULIS:
  ·7· the initial pursuit, correct?                         ·7· · · · Q.· · Okay.· There is a -- that is a -- it's
  ·8· · · · A.· · Yes.                                      ·8· Bates-stamped --
  ·9· · · · Q.· · And you were the officer who did the      ·9· · · · MR. BROOKS:· That's the policy, though.
  10· initial stop, correct?                                10· · · · MR. KUJAWA:· Yeah.
  11· · · · A.· · Yes.                                      11· · · · MR. KULIS:· Oh, no, no.· I'm going to --
  12· · · · Q.· · And you're the first officer that         12· · · · THE WITNESS:· Policy, Number 1.
  13· engaged Mr. Edwards, correct?                         13· BY MR. KULIS:
  14· · · · A.· · Yes.                                      14· · · · Q.· · Policy, Number 1.
  15· · · · Q.· · And as a police officer, you have an      15· · · · · · · · ·This is Number 2.· This is your
  16· obligation to do some police reports when things      16· police report.· Okay?· Your statement to ISP.
  17· happen, correct?                                      17· · · · MR. KUJAWA:· Right.· We got -- so that's
  18· · · · A.· · Yes.                                      18· marked.
  19· · · · Q.· · Okay.· Did you do a case report?          19· · · · MR. BROOKS:· Yeah.
  20· · · · A.· · Yes.                                      20· · · · MR. KUJAWA:· Okay.
  21· · · · Q.· · You did?                                  21· BY MR. KULIS:
  22· · · · A.· · Was a report done?                        22· · · · Q.· · And that's Bates-stamped 0195 through
  23· · · · Q.· · Did you do a case report?                 23· 0199, correct?
  24· · · · A.· · I gave a written -- or a -- a             24· · · · A.· · Yes.

                                                Page 79                                                  Page 81
  ·1· statement.                                            ·1· · · · Q.· · And there is an investigative report
  ·2· · · · Q.· · Okay.                                     ·2· cover sheet along with a four-page statement?
  ·3· · · · A.· · But I did no report regarding that        ·3· · · · A.· · Correct.
  ·4· investigation, no.                                    ·4· · · · Q.· · Okay.· Now, you had -- you had
  ·5· · · · Q.· · Okay.· You did no report regarding the    ·5· mentioned that you gave a statement to the state
  ·6· traffic stop?                                         ·6· police, correct?
  ·7· · · · A.· · No.                                       ·7· · · · A.· · Yes.
  ·8· · · · Q.· · I'm going to -- well, let me ask you      ·8· · · · Q.· · And is this the statement we're
  ·9· this, we can make it simple, probably save -- cut     ·9· speaking of?
  10· to the chase.                                         10· · · · A.· · Yes.
  11· · · · · · · · ·I'm going to show you what is marked   11· · · · Q.· · Now -- and this statement was given on
  12· as Sugars Exhibit Number 2.                           12· January 30th, correct?
  13· · · · · · · · ·Do you have it?                        13· · · · A.· · Yes.
  14· · · · MR. KUJAWA:· Which one is it?· Oh, the          14· · · · Q.· · Is this the only statement you ever
  15· statement?· Yeah.· I got it.                          15· gave?
  16· · · · MR. KULIS:· Yeah.                               16· · · · A.· · Yes.
  17· · · · MR. BROOKS:· And for the record, can we put a   17· · · · Q.· · So you were not the person who shot
  18· sticker because I think that's still marked as --     18· Mr. Edwards, correct?
  19· · · · MR. KULIS:· Well, I've got it here.             19· · · · A.· · Correct.
  20· · · · MR. BROOKS:· Oh.· Is it marked as --            20· · · · Q.· · If someone is shot, does that suspend
  21· · · · MR. KUJAWA:· This is marked as Sugars           21· any obligation of you to do any reports, traffic
  22· Number 1.                                             22· reports, case reports, or anything?
  23· · · · MR. KULIS:· Oh, okay.· All right.· Oh.          23· · · · MR. KUJAWA:· Objection.· Foundation.
  24· · · · MR. BROOKS:· It is?· I didn't realize it was.   24· Speculation.


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                                 EXHIBIT A
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  ·1· · · · · · · · ·If you know, you can go ahead.          ·1· · · · Q.· · So did somebody tell you, Officer
  ·2· · · · THE WITNESS:· So per our policy, when an         ·2· Sugars, don't do any police reports, don't do any
  ·3· incident, severe incident, happens like this, the      ·3· traffic reports?
  ·4· ISP comes in, invest- -- does all the                  ·4· · · · A.· · No.
  ·5· investigations.                                        ·5· · · · Q.· · Don't do any incident reports?
  ·6· · · · · · · · ·So we do a report with them, and        ·6· · · · A.· · This would be my incident report.
  ·7· then they're the ones who handle everything.           ·7· · · · Q.· · Okay.· Now, according to that, let's --
  ·8· BY MR. KULIS:                                          ·8· let -- let me finish to where I was because it --
  ·9· · · · Q.· · But my question to you:· You're not the    ·9· I sometimes jump around, and I apologize.· So if I
  10· one that shot Mr. Edwards, correct?                    10· jump around and you don't understand, just tell me.
  11· · · · A.· · I'm sorry?                                 11· · · · · · · · ·We're back to the incident because
  12· · · · Q.· · You're not the one that shot               12· we'll get back to this report.
  13· Mr. Edwards, right?                                    13· · · · · · · · ·After you heard the shots, what's
  14· · · · A.· · Correct.                                   14· the next thing you did?
  15· · · · Q.· · You were the officer who did the           15· · · · A.· · Went around the other vehicle, came
  16· pursuit, you're the officer who did the traffic        16· back to the rear of the white Cadillac, and
  17· stop, and you're the first officer that engaged        17· reassessed the whole situation.
  18· him, correct?                                          18· · · · Q.· · And what did you -- what's the first
  19· · · · A.· · Correct.                                   19· thing you saw?
  20· · · · Q.· · Is there anything that suspends your       20· · · · A.· · The white Cadillac, Mr. Edwards in the
  21· obligation to do any type of police reports --         21· driver's seat still, and the Cadillac was stopped.
  22· · · · MR. KUJAWA:· Objection.                          22· · · · · · · · ·And then I used the baton to break
  23· BY MR. KULIS:                                          23· the back driver window to acc- -- to get access to
  24· · · · Q.· · -- that you're aware of?                   24· the driver.

                                                   Page 83                                                           Page 85
  ·1· · · · MR. KUJAWA:· Objection.· Foundation.          ·1· · · · Q.· · Okay.· So you came around the parked
  ·2· Speculation.· Asked and answered.· I think he       ·2· car to the rear of the parked car, correct?
  ·3· already answered that question.                     ·3· · · · A.· · Yes.
  ·4· BY MR. KULIS:                                       ·4· · · · Q.· · And at that point, at the rear of the
  ·5· · · · Q.· · You said that's what was done, but I'm  ·5· parked car, what point would you be looking into
  ·6· asking you:· Is there any type of rule with the     ·6· the Cadillac, Mr. Edwards' car?
  ·7· Rock Falls or regulation with the Rock Falls Police ·7· · · · A.· · Like direction?
  ·8· Department that suspends your obligation to do any ·8· · · · Q.· · Yeah.· Would you be looking right in
  ·9· police reports?                                     ·9· the driver's side?
  10· · · · MR. KUJAWA:· Objection.· Same objection.      10· · · · A.· · No.· It was an angle.· So I was angled
  11· Asked and answered again.                           11· to where -- I would say I was kitty-corner to the
  12· · · · · · · · ·You can answer it again.             12· back rear.
  13· · · · THE WITNESS:· So when an incident like this   13· · · · Q.· · Did you look to see where your fellow
  14· happens, the Illinois State Police comes in and     14· officers were?
  15· takes over the whole investigation; and we follow   15· · · · A.· · I just remember Riley being in the
  16· whatever -- they wanted a written statement from    16· driveway.
  17· me, and that's what was given.                      17· · · · · · · · ·I don't remember where Cater was.
  18· · · · · · · · ·Our --                               18· · · · Q.· · Okay.· So you didn't see Cater?
  19· BY MR. KULIS:                                       19· · · · A.· · Not that I could -- can recall.
  20· · · · Q.· · You said that when a serious acci- --   20· · · · Q.· · Did you look up after you looked at
  21· incident occurs?                                    21· Mr. Edwards in the vehicle?· Did you look to see
  22· · · · A.· · Incidents like the one that occurred,   22· where Cater was?
  23· per my command, no reports were done on my end for 23· · · · A.· · Not that I can recall.
  24· the Rock Falls Police Department.                   24· · · · Q.· · When you heard the shots, where did you


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  ·1· think the shots came from?                          ·1· · · · A.· · Not -- not an exact time, no.
  ·2· · · · A.· · The shots came from behind me, is all I ·2· · · · Q.· · Did you ever find out when he arrived?
  ·3· know.                                               ·3· · · · A.· · After the shooting.
  ·4· · · · Q.· · Who did you think fired?                ·4· · · · Q.· · So he arrived -- how did you find out
  ·5· · · · A.· · I had no idea.                          ·5· that he arrived after the shooting?
  ·6· · · · Q.· · When you saw the -- the next time you   ·6· · · · A.· · From watching the video and everything.
  ·7· saw Cater, where was he standing?                   ·7· · · · Q.· · Okay.· So you went around and broke
  ·8· · · · A.· · I don't remember.· I don't remember     ·8· that window.
  ·9· when I saw him where we were.                       ·9· · · · · · · · ·And what was your purpose in doing
  10· · · · Q.· · Okay.· So you assessed the situation;   10· that?
  11· and when you came around the back of the parked car 11· · · · A.· · To unlock that driver door to get
  12· and looked and saw Mr. Edwards, was he moving?      12· access to the driver.
  13· · · · A.· · No.                                     13· · · · Q.· · Okay.· And when you -- how many times
  14· · · · Q.· · And did you have your weapon out or     14· did it take you to break that window?
  15· were you just holding the baton?                    15· · · · A.· · Twice.· Two hits.
  16· · · · A.· · When I came back around that car? I     16· · · · Q.· · Okay.· And then you were able to unlock
  17· had my weapon out.                                  17· the front door?
  18· · · · Q.· · Okay.· And when did you holster it?     18· · · · A.· · Yes.
  19· · · · A.· · When I used the baton to break the rear 19· · · · Q.· · And then you pulled Mr. Edwards out?
  20· window.                                             20· · · · A.· · We'll go back.
  21· · · · Q.· · Okay.· And why did you holster your     21· · · · · · · · ·I unlocked the passenger door, front
  22· weapon?                                             22· passenger door.
  23· · · · A.· · To break the rear -- the rear window    23· · · · · · · · ·Deputy Elder got in and unlocked the
  24· with my baton.                                      24· driver door, and then me and him went around and

                                                Page 87                                                   Page 89
  ·1· · · · Q.· · Okay.· And -- because you're right-       ·1· pulled Mr. Edwards out.
  ·2· handed?                                               ·2· · · · Q.· · So did you pull him out of the driver's
  ·3· · · · A.· · Correct.                                  ·3· side?
  ·4· · · · Q.· · And you took the baton and broke the --   ·4· · · · A.· · Yes.
  ·5· and why did you break the right rear -- rear          ·5· · · · Q.· · And then did you -- what did you do
  ·6· window?                                               ·6· with him?
  ·7· · · · A.· · I don't know why I chose that window.     ·7· · · · A.· · Brought him to the back of the Cadillac
  ·8· · · · · · · · ·So I broke that one to get access to   ·8· and then Deputy Elder started rendering first aid.
  ·9· the driver; and then, once I did that, I unlocked     ·9· · · · Q.· · When you say the back of the Cadillac,
  10· that rear door and then I realized I couldn't get     10· would that be in the driveway on the pavement?
  11· to the driver or unable to unlock that driver door.   11· · · · A.· · Yes.
  12· · · · · · · · ·So I went around to the passenger      12· · · · Q.· · And Elder tried to do some CPR?
  13· front window and broke that one and unlocked that     13· · · · A.· · Yes.
  14· door.                                                 14· · · · Q.· · What did you notice about Mr. Edwards
  15· · · · Q.· · Did you see Cater when you went around    15· at that point?
  16· the side of the car?                                  16· · · · A.· · So I -- I didn't notice -- I noticed
  17· · · · A.· · I can't remember.· That's -- that --      17· blood in the vehicle when we pulled him out.
  18· that -- when I went to the passenger side is when     18· · · · · · · · ·And then when we got him on the
  19· Deputy Elder, I remember seeing him.· So ... I        19· ground, both county deputies -- well, I say county
  20· don't remember.                                       20· deputies -- started doing first aid.
  21· · · · Q.· · Was he on the scene the whole time, do    21· · · · Q.· · Well, he wasn't able to exit the
  22· you know?                                             22· vehicle, was he?
  23· · · · A.· · The whole time?· No.                      23· · · · A.· · No.
  24· · · · Q.· · Do you know when he arrived?              24· · · · Q.· · Was he -- did he say anything to you


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  ·1· when you got into the vehicle to pull him out?        ·1· · · · A.· · No.
  ·2· · · · A.· · No.                                       ·2· · · · Q.· · And before he was pulled out of the
  ·3· · · · Q.· · Was he conscious?                         ·3· car, the only two people that were in the vehicle
  ·4· · · · A.· · No, not -- he was unresponsive, is the    ·4· were you and Elder, right?
  ·5· way I'd word it.                                      ·5· · · · A.· · Yes.
  ·6· · · · Q.· · Would it be sa- -- would it be safe to    ·6· · · · Q.· · Did you -- was the CPR work done in the
  ·7· say he was like dead weight bringing him out?         ·7· driveway or in the grass?
  ·8· · · · A.· · I'd say he's unresponsive.                ·8· · · · A.· · I believe the driveway.
  ·9· · · · Q.· · Okay.· So he couldn't exit the vehicle    ·9· · · · Q.· · Okay.· From this point in time, what's
  10· at all?                                               10· the first thing you -- opportunity you had to say
  11· · · · A.· · No.                                       11· anything to Cater?
  12· · · · Q.· · By himself?                               12· · · · A.· · I don't -- I don't remember.
  13· · · · A.· · No.                                       13· · · · Q.· · Did you talk to him at the scene?
  14· · · · Q.· · What made the car stop, do you know?      14· · · · A.· · I believe we said something, but I
  15· · · · A.· · I don't.                                  15· don't remember what it was.
  16· · · · Q.· · Now, you saw him changing gears when      16· · · · Q.· · Well --
  17· you were going -- or playing with the stick shift     17· · · · A.· · I -- I can give you a rundown of the
  18· when you were going for the baton, correct?           18· process of what happened, but I don't remember what
  19· · · · A.· · I don't know exactly when it was, but     19· was said.
  20· I remember him messing with it, yes.                  20· · · · Q.· · Did you ever fig- -- when did you
  21· · · · Q.· · Did you ever see him put the car in       21· figure out that Cater shot him?
  22· park?                                                 22· · · · A.· · I think once -- once the Sterling
  23· · · · A.· · I don't know if the -- I couldn't see     23· Police Department sergeant showed up.
  24· the shift indicator.· So I have no idea what it was   24· · · · Q.· · And how much time -- well, when did

                                                Page 91                                                   Page 93
  ·1· in at any point in time.                              ·1· that occur, I'm sorry?
  ·2· · · · · · · · ·I don't know if it was park, drive,    ·2· · · · A.· · A few minutes after the shooting.
  ·3· reverse, second gear, third gear.· I have -- I        ·3· · · · Q.· · So within -- from the point of the
  ·4· don't know.                                           ·4· shooting till -- for several minutes, you had no
  ·5· · · · Q.· · What about when you -- you and Elder      ·5· conversation with Cater?
  ·6· pulled him out of the car?· Was the car in park       ·6· · · · A.· · Like direct conversation?· No.
  ·7· then?                                                 ·7· · · · Q.· · Did you ask like, Who shot him?
  ·8· · · · A.· · Unknown.                                  ·8· · · · A.· · No.
  ·9· · · · Q.· · Did the car start moving?                 ·9· · · · Q.· · Did you wonder who shot him?
  10· · · · A.· · Not that I can recall, no.                10· · · · A.· · At that point, no.
  11· · · · Q.· · Okay.· When you were pulling his --       11· · · · Q.· · Were you concerned who shot him?
  12· the body or Mr. Edwards out of the vehicle, I mean,   12· · · · A.· · At that point, no.
  13· his -- his feet were still somewhere I assume near    13· · · · Q.· · But you knew he had -- had been shot
  14· the brake or near the gas pedal, correct?             14· by a police officer, correct?· You assumed?
  15· · · · A.· · I would assume, yes.                      15· · · · A.· · I would assume, yes.
  16· · · · Q.· · And the car didn't move at all?           16· · · · Q.· · You weren't concerned why he was shot?
  17· · · · A.· · Not that I know of, no.                   17· · · · A.· · Not at that point, no.
  18· · · · Q.· · When you pulled him out, was the car      18· · · · Q.· · Because you never shot at him, right?
  19· still running or was it off?                          19· · · · A.· · Correct.
  20· · · · A.· · I can't remember.                         20· · · · Q.· · In fact, you had several opportunities
  21· · · · Q.· · So you don't know if anybody had turned   21· to in fact shoot him if you felt that was
  22· the ignition off, do you?                             22· necessary, right?
  23· · · · A.· · No.                                       23· · · · A.· · Yes.
  24· · · · Q.· · You didn't, did you?                      24· · · · Q.· · You had your gun actually pointed


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  ·1· almost right at his temple, right next to the         ·1· · · · Q.· · Did Cater ever tell you why he shot?
  ·2· car -- well, as you stood next to the car, correct?   ·2· · · · A.· · No.
  ·3· · · · A.· · Yes.                                      ·3· · · · Q.· · Never, as we sit here today, from
  ·4· · · · Q.· · And you didn't feel the necessity to      ·4· January 26th, was it, to -- '19, '18 -- 2018, to
  ·5· fire, right?                                          ·5· today Cater's never told you why he shot?
  ·6· · · · A.· · No.                                       ·6· · · · A.· · No.
  ·7· · · · Q.· · And then you put your gun away and you    ·7· · · · Q.· · Now, looking at Exhibit Number 2, this
  ·8· pulled your gun out again; and you didn't fire,       ·8· is your report, correct?
  ·9· correct?                                              ·9· · · · A.· · Yes.
  10· · · · A.· · Correct.                                  10· · · · Q.· · Prior to giving this report, did you
  11· · · · Q.· · And when you saw the -- when you heard    11· have an opportunity to look at the videos -- the
  12· the engine rev, you didn't fire, correct?             12· video?
  13· · · · A.· · Correct.                                  13· · · · MR. BROOKS:· There goes our microphone.
  14· · · · Q.· · Because in fact your policy says that     14· · · · MR. KUJAWA:· No, it's this guy.
  15· you shouldn't shoot at moving vehicles, correct?      15· BY MR. KULIS:
  16· · · · MR. KUJAWA:· I'm going to object to the form    16· · · · Q.· · All right.· Prior to giving this
  17· of the question.· It's a -- well, foundation.         17· report, did you look at the video?
  18· Speculation.· Incomplete hypothetical.                18· · · · A.· · I don't remember if it was before or
  19· · · · · · · · ·If you understand it and you're able   19· after.
  20· to answer it, you can go ahead.                       20· · · · Q.· · Did anyone call you in from your
  21· · · · MR. BROOKS:· Should be page 5, I think.         21· department to go look at the videos with your
  22· · · · THE WITNESS:· You said 5?                       22· fellow officers?
  23· · · · MR. BROOKS:· Yes.                               23· · · · A.· · Yes.
  24· · · · MR. KULIS:· Section 300.4.1.                    24· · · · Q.· · Okay.· And who was that?

                                                Page 95                                                   Page 97
  ·1· · · · THE WITNESS:· So can you do the question        ·1· · · · A.· · Who called us in?
  ·2· again?                                                ·2· · · · Q.· · Yeah.
  ·3· BY MR. KULIS:                                         ·3· · · · A.· · It was Commander Koett at the time.
  ·4· · · · Q.· · Of -- your policy tells you that shots    ·4· · · · Q.· · And what did he tell you?
  ·5· fired at or from a moving vehicle are rarely          ·5· · · · A.· · We just watched the video.
  ·6· effective?                                            ·6· · · · · · · · ·He didn't say, You need to do this,
  ·7· · · · A.· · Correct.                                  ·7· you need to do that.
  ·8· · · · Q.· · And you're aware of that policy?          ·8· · · · · · · · ·He just says, We're going to sit
  ·9· · · · A.· · Correct.                                  ·9· down and watch the video.
  10· · · · Q.· · And you were aware of that policy on      10· · · · · · · · ·And that was it.
  11· that date, correct?                                   11· · · · Q.· · Okay.· So you said that he stated,
  12· · · · A.· · Correct.                                  12· We're going to sit down and watch the video?
  13· · · · Q.· · And you did not feel it was necessary     13· · · · A.· · Yes.
  14· to fire your weapon, correct, at any time during      14· · · · Q.· · Okay.· And when you said "we," who was
  15· this whole incident?                                  15· the we?
  16· · · · A.· · Me?· No.                                  16· · · · A.· · It was me -- me, Cater, Riley, and
  17· · · · Q.· · Okay.· But you told him he was going to   17· Commander Koett.· We were all in the room.
  18· get shot?                                             18· · · · Q.· · And how many times did you watch the
  19· · · · A.· · Yes.                                      19· video?
  20· · · · Q.· · And lo and behold, he got shot.           20· · · · A.· · Twice in one day.
  21· · · · A.· · Correct.                                  21· · · · Q.· · Twice within that period of time?
  22· · · · Q.· · But you -- at that point in time, you     22· · · · A.· · Yes.· When -- when you asked how many
  23· don't know why he got shot?                           23· times I watched it, I said once; and then you asked
  24· · · · A.· · No.                                       24· when the next time was.· Those were the two times.


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  ·1· · · · Q.· · Okay.· And how long did this meeting      ·1· 45-minute period of time?
  ·2· take place?                                           ·2· · · · A.· · That we watched this video --
  ·3· · · · A.· · We watched the two videos, and that was   ·3· · · · Q.· · Twice.
  ·4· it.                                                   ·4· · · · A.· · -- and it took 45 minutes?· How long is
  ·5· · · · Q.· · How long did --                           ·5· the video?
  ·6· · · · A.· · Or not the two videos.· Watched it        ·6· · · · Q.· · I don't know exactly, but did you watch
  ·7· twice, and that was it.                               ·7· from the beginning to the end?
  ·8· · · · Q.· · Approximately how long is the video?      ·8· · · · A.· · Yes.
  ·9· · · · A.· · I couldn't tell you.                      ·9· · · · Q.· · The whole thing, or did you stop --
  10· · · · Q.· · Okay.· During the time that you watched   10· · · · A.· · From what I remember, yes.
  11· the video, were there any questions asked by the      11· · · · Q.· · -- after the paramedics came or after
  12· commander?                                            12· the CPR was given out?
  13· · · · A.· · No.                                       13· · · · A.· · It could have been after the paramedics
  14· · · · Q.· · Was there any conversation between you    14· came.· I don't -- I don't know how long the video
  15· and your fellow officers?                             15· exactly is.
  16· · · · A.· · Regarding the video, no.                  16· · · · Q.· · After Mr. Edwards was pulled out, did
  17· · · · Q.· · Or what was seen on the video.            17· you try to do anything to save his life?
  18· · · · A.· · No.                                       18· · · · A.· · No, because the deputies were already
  19· · · · Q.· · Did Cater make any comments?              19· doing it.
  20· · · · A.· · No.                                       20· · · · Q.· · By the deputies, who's that?
  21· · · · Q.· · Did Riley make any comments?              21· · · · A.· · Deputy Coutts and Deputy Elder.
  22· · · · A.· · I take that back.· I don't recall if      22· · · · Q.· · Okay.
  23· they did or not.                                      23· · · · A.· · I'm sorry, I take that back.
  24· · · · Q.· · Did you make any comments?                24· · · · · · · · ·Riley went and grabbed the AED from

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  ·1· · · · A.· · Not that I can remember.                ·1· I think his squad, and then I applied the pads to
  ·2· · · · Q.· · So, at this point in time, no one       ·2· Mr. Edwards.
  ·3· explained what was going on or why they did what    ·3· · · · Q.· · Okay.· So from the point that -- I'm
  ·4· they did?                                           ·4· sorry.· After the shooting, did you get in your car
  ·5· · · · A.· · No.                                     ·5· and drive back to the police station?
  ·6· · · · Q.· · No questions were asked between         ·6· · · · A.· · No.
  ·7· yourselves?                                         ·7· · · · Q.· · How did you get back?
  ·8· · · · A.· · No.                                     ·8· · · · A.· · Another officer came and picked me up
  ·9· · · · Q.· · And you watched it -- why did you watch ·9· and took me back.
  10· it a second time?                                   10· · · · Q.· · Did he take you back separately?
  11· · · · A.· · That's just what we did.· We watched it 11· · · · A.· · Yes.
  12· the first time, and then they replayed it again and 12· · · · Q.· · Did he take Cater back separately?
  13· watched it the second time.                         13· · · · A.· · I don't know who took Cater back.
  14· · · · Q.· · Well, after you watched it the first    14· · · · · · · · ·It wasn't the same officer that took
  15· time, did somebody say, Let's watch it again?       15· us all back.· So I know Cater was gone be- --while
  16· · · · A.· · I can't remember.                       16· I was still on the scene.
  17· · · · Q.· · And during this whole period of time    17· · · · Q.· · Okay.· When you were taken back to the
  18· that you were there, nothing was said between       18· station, where were you placed?
  19· anybody regarding what was going on on the screen? 19· · · · A.· · I would say in -- I'd call it our
  20· · · · A.· · Not that I can remember, no.            20· conference room.
  21· · · · Q.· · Now, if there -- if I tell you that     21· · · · Q.· · And where was Cater placed, do you
  22· there's a report that indicates you were there      22· know?
  23· watching this video or the -- for like 43, almost   23· · · · A.· · He was sent to a hospital in Dixon.
  24· 45 minutes, could you tell me what happened in this 24· · · · Q.· · Okay.


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  ·1· · · · A.· · Per policy.                               ·1· they could find whatever.
  ·2· · · · Q.· · And what about Riley?                     ·2· · · · Q.· · When you -- when you say they asked
  ·3· · · · A.· · He was placed in another room at the      ·3· where everything was --
  ·4· Rock Falls Police Department.                         ·4· · · · A.· · They couldn't find the baton.· So they
  ·5· · · · Q.· · So what did you do that night when you    ·5· asked where the -- where I put the baton, and I
  ·6· were brought back to the station?                     ·6· told them I didn't know.
  ·7· · · · A.· · What do you mean?                         ·7· · · · Q.· · Did they ask where you were standing?
  ·8· · · · Q.· · You didn't fill out any reports, did      ·8· · · · A.· · To very minimum detail, they asked the
  ·9· you --                                                ·9· area I was in, yes.
  10· · · · A.· · No.                                       10· · · · Q.· · Did they ask where -- which direction
  11· · · · Q.· · -- or start to fill out any reports?      11· you were looking or what did you see?
  12· · · · A.· · At some point, I was told by my           12· · · · A.· · No.· They didn't get that -- too
  13· commander to go home for administrative leave per     13· detailed.
  14· policy, and I got home.                               14· · · · Q.· · Did they ask you if you had your weapon
  15· · · · · · · · ·And when I got home, I got called      15· out?
  16· back for the state police to start their              16· · · · A.· · Not that I can remember.
  17· investigation.                                        17· · · · Q.· · Were they taking notes during this?
  18· · · · · · · · ·So I came back and met with one of     18· · · · A.· · I can't remember.
  19· their investigators who took photos of what we were   19· · · · Q.· · Then you came in on January 26th to
  20· wearing and everything like that.                     20· give a formal statement to the Illinois State
  21· · · · · · · · ·No statements were made, though, at    21· Police, correct?
  22· that time.                                            22· · · · A.· · January 30th.
  23· · · · Q.· · Okay.· Then -- so they didn't question    23· · · · Q.· · I'm sorry, January 30th.
  24· you about what occurred?                              24· · · · A.· · Yes.

                                                 Page 103                                                Page 105
  ·1· · · · A.· · No.                                     ·1· · · · Q.· · And you were there with a -- another
  ·2· · · · Q.· · Okay.· Who's the first person that      ·2· individual?
  ·3· you talked to after this incident and told what     ·3· · · · A.· · I was with an attorney and then two
  ·4· happened?                                           ·4· state police investigators.
  ·5· · · · A.· · Like in detail --                       ·5· · · · Q.· · Okay.· And you were brought in at
  ·6· · · · Q.· · I mean, even in -- even in -- in        ·6· 1:00 -- 1:00 p.m., correct?
  ·7· summary.                                            ·7· · · · A.· · Yes.
  ·8· · · · A.· · -- or -- or, Hey, I was involved in a   ·8· · · · Q.· · And what occurred at 1:00 p.m.?
  ·9· shooting?                                           ·9· · · · A.· · I gave them my statement.
  10· · · · Q.· · No, not -- more detailed than that.· In 10· · · · Q.· · Okay.· Right at that time, right?
  11· detail.                                             11· · · · A.· · I'd say approximate.
  12· · · · A.· · It would be this statement right here.  12· · · · Q.· · Was there a question/answer,
  13· · · · Q.· · Okay.· So you were -- you didn't -- no  13· question/answer scenario?
  14· one asked you about what occurred, nobody asked 14· · · · A.· · No.
  15· where you were.                                     15· · · · Q.· · So just tell me how it went.
  16· · · · · · · · ·Did you do a walk-through?· Do you   16· · · · A.· · So they asked me what happened and I --
  17· know what a walk-through is?                        17· kind of how we did at the beginning here, and they
  18· · · · A.· · Yes.                                    18· started writing down; and then there were questions
  19· · · · Q.· · Did you do a walk-through?              19· around the end of it.
  20· · · · A.· · That night, yes.                        20· · · · Q.· · Okay.· So somebody started writing it
  21· · · · Q.· · Okay.                                   21· down?
  22· · · · A.· · I can't remember the -- it was the I -- 22· · · · A.· · It was typed.
  23· the state police investigator.· They just -- they   23· · · · Q.· · Okay.· So were they -- was -- was
  24· asked me where everything was to my knowledge so    24· somebody typing as you were talking?


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  ·1· · · · A.· · Yes.                                                 ·1· · · · A.· · Like after I was done with it?· They
  ·2· · · · Q.· · Was it a -- was it videoed?                          ·2· kept everything.
  ·3· · · · A.· · I don't -- I don't know.                             ·3· · · · Q.· · Okay.· And how many times did this
  ·4· · · · Q.· · Was there a recording?                               ·4· occur?
  ·5· · · · A.· · I don't know.· I can't re- -- I can't                ·5· · · · A.· · The draft?
  ·6· remember.                                                        ·6· · · · Q.· · Yeah.
  ·7· · · · Q.· · Okay.· But as you were speaking,                     ·7· · · · A.· · I'd say once.
  ·8· somebody was typing on a computer or was typing -- ·8· · · · Q.· · Okay.· So they spoke to you at --
  ·9· · · · A.· · Yes.                                                 ·9· according to this, at 1:00 p.m.
  10· · · · Q.· · Okay.                                                10· · · · · · · · ·And how long did it take to give the
  11· · · · A.· · There was -- they had two investigators              11· statement?
  12· there.· One was typing.· One was I think possibly                12· · · · A.· · I think I was there for about three
  13· taking notes.· I can't remember.· I just know one                13· hours.
  14· was typing.                                                      14· · · · Q.· · Okay.· So it took you three hours to
  15· · · · Q.· · Okay.· And then -- so they basically                 15· give you -- give your narrative?
  16· said, What happened, and you gave a narrative?                   16· · · · A.· · I'd say so.
  17· · · · A.· · At the beginning, yes; and then, like I              17· · · · Q.· · So they just said, What happened; and
  18· said I think it got more detailed as it went on.                 18· you talked for three hours?
  19· · · · Q.· · What do you mean, got more detailed?                 19· · · · A.· · And then there was questions, answers,
  20· Was it --                                                        20· clarifying things.
  21· · · · A.· · Like you asked questions, if there was               21· · · · Q.· · Okay.· And somebody was -- was somebody
  22· questions, yeah.· But I don't remember exactly how               22· typing notes as you were speaking?
  23· it went.                                                         23· · · · A.· · I believe so.
  24· · · · Q.· · Okay.· So when they asked questions,                 24· · · · Q.· · I mean, they didn't --


                                                            Page 107                                                          Page 109
  ·1· did they like go back into the statement and fill                ·1· · · · A.· · I -- I -- I just remember one was on
  ·2· things in or change the statement or ...                         ·2· the computer and one was sitting there.
  ·3· · · · · · · · ·I don't mean to like change it, but               ·3· · · · Q.· · Okay.· But my question is:· Like when
  ·4· like modify the statement.                                       ·4· they were typing, did someone -- you say something
  ·5· · · · A.· · I believe so.                                        ·5· and then he would say, Hold on, and he would go
  ·6· · · · Q.· · So did they show you a draft of the                  ·6· back and go through the statement and interject
  ·7· statement?                                                       ·7· that fact; or -- or was he just typing as you were
  ·8· · · · A.· · No.                                                  ·8· talking?
  ·9· · · · Q.· · So you only saw the one version?                     ·9· · · · MR. KUJAWA:· Objection.· Foundation.
  10· · · · A.· · Like a draft of my statement?                        10· Speculation.
  11· · · · Q.· · Yes.                                                 11· · · · · · · · ·If you know, you can answer.
  12· · · · A.· · So we did the statement.· Then they                  12· BY MR. KULIS:
  13· gave me the statement -- or gave my attorney the                 13· · · · Q.· · What did you see?
  14· statement, and we looked over it to make sure                    14· · · · A.· · Question -- one more time with the
  15· wording -- the wording is what we wanted it to be;               15· question.
  16· and that is the only thing that was changed.                     16· · · · Q.· · Sure.· So you gave your narrative.
  17· · · · Q.· · Okay.                                                17· · · · A.· · Yes.
  18· · · · A.· · Like misspellings and stuff like that.               18· · · · Q.· · And then you said there was some
  19· · · · Q.· · Well, I'm not worried about some of the              19· questions.
  20· misspellings, but did you have to add some facts to 20· · · · · · · · ·So they would ask a question; you
  21· it?                                                 21· would give an answer, right?
  22· · · · A.· · Not that I can remember.                             22· · · · A.· · Yes.
  23· · · · Q.· · Now, when they gave you that draft,                  23· · · · Q.· · So did they say, Stop; and the guy
  24· what happened with that initial draft?                           24· typing would go back and interject that fact?


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  ·1· · · · A.· · Yes.                                      ·1· · · · MR. KUJAWA:· Like we don't have the process
  ·2· · · · Q.· · Or were they just typing as you were --   ·2· down yet?· This is -- this is like the fourth time
  ·3· · · · A.· · It -- it wasn't a free type -- me just    ·3· around.
  ·4· type- -- talking, them typing.                        ·4· · · · MR. KULIS:· So -- thanks.
  ·5· · · · · · · · ·It was like I'd say stuff.· They'd     ·5· BY MR. KULIS:
  ·6· clarify things.· Okay?· Kind of like here at the      ·6· · · · Q.· · So you signed this at like almost
  ·7· beginning.· You wanted to know the speed limit and    ·7· 8:00 o'clock?
  ·8· stuff; that's what they wanted to know.               ·8· · · · A.· · If that's what this says, yes.
  ·9· · · · Q.· · And this went on for three hours?         ·9· · · · Q.· · Okay.· Now, under your contract with
  10· · · · A.· · Yes.                                      10· Rock Falls, do you get paid for that time?
  11· · · · Q.· · Because --                                11· · · · A.· · I did.
  12· · · · A.· · Approximate -- approximate.               12· · · · Q.· · Okay.· So there would be records to
  13· · · · Q.· · Your statement is four pages.· It         13· show how long you got paid for on that day,
  14· doesn't take three house to read four pages.          14· correct?
  15· · · · A.· · It might take a couple hours to type      15· · · · A.· · Should be, yes.
  16· one, though.                                          16· · · · Q.· · When you finished your statement, when
  17· · · · Q.· · I assume they were better typers than     17· you ultimately signed off on it, did they give you
  18· I am.                                                 18· a copy on -- at that point?
  19· · · · · · · · ·But -- so they were -- it was four     19· · · · A.· · No.
  20· hours and -- or you said three hours, whatever it     20· · · · Q.· · And you signed each page, correct?
  21· was.· Three or four hours.                            21· · · · A.· · Yes.
  22· · · · A.· · Approximate, yeah.                        22· · · · Q.· · So it indicates that the interview took
  23· · · · Q.· · So if you can look at -- on Exhibit       23· place about 1:15.· If you look at this -- the cover
  24· Number 2, there is a signature line.                  24· sheet, and it says that Dustin was questioned about

                                               Page 111                                                              Page 113
  ·1· · · · · · · · ·And this says it was completed at      ·1· his observations and actions.
  ·2· 7:57 at night, correct?                               ·2· · · · · · · · ·So at 1:15 did they start asking
  ·3· · · · A.· · Yes, it does.                             ·3· questions, or did they just tell you what -- ask
  ·4· · · · Q.· · So that's seven hours?                    ·4· you what happened and you give a narrative?
  ·5· · · · A.· · Six.                                      ·5· · · · MR. KUJAWA:· Is -- is this a question?
  ·6· · · · Q.· · I take it that you were there because,    ·6· BY MR. KULIS:
  ·7· according to this, that is your signature, right?     ·7· · · · Q.· · When did you first -- approximately how
  ·8· · · · A.· · Correct.                                  ·8· long were you there before you got to see the first
  ·9· · · · Q.· · And according to this, this was signed    ·9· draft?
  10· on January 30th at 7:57, correct?                     10· · · · A.· · Couldn't tell you.
  11· · · · A.· · Correct.                                  11· · · · Q.· · Okay.· And could you tell me why, if
  12· · · · Q.· · So what happened during --                12· the shooting took place on the 26th, that the
  13· · · · A.· · So --                                     13· statement was not given till the 30th?
  14· · · · Q.· · -- seven hours?                           14· · · · A.· · You would have to refer to the ISP for
  15· · · · A.· · -- the time frame was off then.· It       15· that.
  16· wasn't approximately three hours.                     16· · · · Q.· · Okay.
  17· · · · · · · · ·Again, I don't know the exact time.    17· · · · A.· · I had no -- no say in when it was
  18· It's over a year ago.                                 18· given.
  19· · · · Q.· · But they were typing the statement as     19· · · · Q.· · Okay.· Maybe -- let me put a question
  20· you were giving it; and it was in a narrative form,   20· before that.
  21· right?                                                21· · · · · · · · ·Did they ask you to come in before
  22· · · · MR. KUJAWA:· Objection.                         22· that?
  23· · · · MR. KULIS:· I'm just trying to get the          23· · · · A.· · No.
  24· process down because what he's saying --              24· · · · Q.· · Okay.· When is the last time you looked


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  ·1· at that statement?                                    ·1· about attorney/client privileged communications.
  ·2· · · · A.· · It would have been a week ago, and that   ·2· BY MR. KULIS:
  ·3· was it.                                               ·3· · · · Q.· · Forgetting attorney/client privilege.
  ·4· · · · Q.· · I'm sorry?                                ·4· · · · · · · · ·Forgetting any communications with
  ·5· · · · A.· · I said about a week ago.                  ·5· your attorney, has anyone ever told you why Cater
  ·6· · · · Q.· · Okay.· And you read it over?              ·6· shot?
  ·7· · · · A.· · Yes.                                      ·7· · · · A.· · No.
  ·8· · · · Q.· · Is there anything you would want to       ·8· · · · Q.· · And Cater has not told you why he
  ·9· change in that statement?                             ·9· shot --
  10· · · · A.· · No.                                       10· · · · A.· · No.
  11· · · · Q.· · So it is truly -- it's true and           11· · · · Q.· · -- why he shot?
  12· accurate?                                             12· · · · · · · · ·And you've -- you've continued to
  13· · · · A.· · It's my statement that I gave that day.   13· work with Cater, correct?· You're still with the
  14· · · · Q.· · Okay.· But is it -- you know, memories    14· Rock Falls Police Department, correct?
  15· change and stuff like that.                           15· · · · A.· · Yes.
  16· · · · · · · · ·Is there anything that you wish to     16· · · · Q.· · So is he, correct?
  17· change?· Is that still --                             17· · · · A.· · Yes.
  18· · · · A.· · No.                                       18· · · · Q.· · And you and -- as we sit here today,
  19· · · · Q.· · -- do you still adopt that statement?     19· a year and a half later, you and him never had a
  20· · · · A.· · Yes.                                      20· discussion regarding this?
  21· · · · Q.· · Okay.· How many times did you order       21· · · · A.· · No.
  22· Mr. Edwards out of the vehicle?                       22· · · · Q.· · Since that time, have you ever gone out
  23· · · · A.· · Couldn't tell you.                        23· and had beers with him?
  24· · · · Q.· · More than twice?                          24· · · · A.· · With retirement parties but not

                                               Page 115                                                  Page 117
  ·1· · · · A.· · I can't give you a number.                ·1· directly with him.
  ·2· · · · Q.· · To try to gain compliance or have         ·2· · · · Q.· · And according to your policy, use of
  ·3· individuals get -- comply with your orders, do you    ·3· deadly force is the last option to be used,
  ·4· tell -- is that your practice and policy or is that   ·4· correct?
  ·5· the Rock Falls practice and policy to say, Comply     ·5· · · · A.· · What page do you have that on?· This --
  ·6· or you're going to get shot?                          ·6· 300.4?
  ·7· · · · A.· · No.                                       ·7· · · · Q.· · Yeah.· Back again, 300.4.1.
  ·8· · · · Q.· · But on this case, you stated that:        ·8· · · · A.· · I can answer it if you want.
  ·9· Then in an attempt to gain the driver's compliance,   ·9· · · · Q.· · Go ahead.
  10· I stated, You're going to get shot?                   10· · · · A.· · It's not in there.· So it doesn't say
  11· · · · A.· · Yes.                                      11· it's the last option.
  12· · · · Q.· · Did you ever tell Cater that he said,     12· · · · Q.· · So you -- as you sit here today, you
  13· Fuck you, shoot me, bitch?                            13· believe that it could be your first option?
  14· · · · A.· · No.                                       14· · · · A.· · I'm not going to say it should be your
  15· · · · Q.· · Do you know if he heard that?             15· first option either; but policy-wise, as you asked,
  16· · · · A.· · Possible if he watched the video.         16· it doesn't say it has to be the last option.
  17· · · · Q.· · Have you ever looked at Cater's           17· · · · Q.· · Okay.· Did -- do you know if Rock Falls
  18· statement?                                            18· did any investigation regarding the shooting?
  19· · · · A.· · No.                                       19· · · · A.· · I believe an internal investigation,
  20· · · · Q.· · So, as we sit here today, other than      20· but I don't know how thorough because, like I said,
  21· what you may have surmised, no one has ever told      21· when these incidents happen, the state police comes
  22· you why Cater shot, correct?                          22· over and takes over all the investigation.
  23· · · · MR. KUJAWA:· I'm going to object to the form    23· · · · Q.· · Did -- as you sit here today, do you
  24· of the question and for the -- if you're asking       24· know if they did any investigation?


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  ·1· · · · A.· · I have no idea.                           ·1· · · · · · · · ·Who else was with you when you did
  ·2· · · · Q.· · Who's Officer Pilgrim?                    ·2· that walk-through?
  ·3· · · · A.· · It would be Commander Pilgrim now.· He    ·3· · · · A.· · It was state police.· I don't know.
  ·4· was the detective sergeant at the time.               ·4· · · · Q.· · Were any other Rock Falls police
  ·5· · · · Q.· · Do you know if he conducted any           ·5· officers there?
  ·6· investigation?                                        ·6· · · · A.· · Not that I remember.
  ·7· · · · A.· · I don't know.· I never spoke to him       ·7· · · · Q.· · I mean, not -- I don't mean there in
  ·8· about the incident.                                   ·8· the area but doing the walk-through.
  ·9· · · · Q.· · And he never spoke to you?                ·9· · · · A.· · As in other officers doing the
  10· · · · A.· · No.                                       10· walk-through -- walk-through as Cater or Riley?
  11· · · · Q.· · Do you know if he spoke to anyone         11· · · · Q.· · Yes.
  12· else --                                               12· · · · A.· · I know those two did not do one, but I
  13· · · · A.· · I --                                      13· don't know if anyone else -- command I know was on
  14· · · · Q.· · -- that you're aware of?                  14· scene.· I don't know what they did, though.
  15· · · · A.· · No.                                       15· · · · Q.· · Okay.· When did you first learn that
  16· · · · Q.· · Now, you were the one that was            16· Cater had -- was the one who shot?
  17· communicating with Mr. Edwards, correct?              17· · · · A.· · It would have been when
  18· · · · A.· · Yes.                                      18· Sergeant "Batell" -- Sergeant Bartel showed up on
  19· · · · Q.· · Okay.· So do you know if Cater tried to   19· scene.
  20· communicate with him?                                 20· · · · Q.· · And how did you learn that -- tell me
  21· · · · A.· · Unknown.                                  21· the circumstances.
  22· · · · Q.· · So you have no idea what Cater was        22· · · · A.· · He asked who was the shooter was or who
  23· doing during the whole time?                          23· shot, and I think Cater said it was him.
  24· · · · A.· · I -- I have no idea what any of them --   24· · · · Q.· · Okay.· When you approached the vehicle

                                               Page 119                                                  Page 121
  ·1· any other officers were doing during the incident.    ·1· the first time with the gun drawn, could you show
  ·2· · · · Q.· · Do you know if Officer Cater did          ·2· me how you were holding your gun?
  ·3· anything to try to deescalate the situation?          ·3· · · · A.· · I want to say it was like this
  ·4· · · · · · · · ·I know you don't like the question.    ·4· (indicating).
  ·5· · · · MR. KUJAWA:· He just said he didn't know what   ·5· · · · Q.· · Is that how you're trained to do that?
  ·6· any officers were doing during the situation.         ·6· · · · A.· · There's multiple ways to be trained on
  ·7· · · · · · · · ·You can answer the question if         ·7· how to hold a gun, how to shoot a gun.
  ·8· you --                                                ·8· · · · Q.· · Okay.
  ·9· · · · THE WITNESS:· I don't know.                     ·9· · · · A.· · But that, I would say not directly
  10· BY MR. KULIS:                                         10· trained, no.
  11· · · · Q.· · From the point that you arrived at the    11· · · · Q.· · And would it be fair to say that
  12· side of the car to the point that you heard the       12· Mr. Edwards saw this gun pointing at him?
  13· first shot, approximately how much time elapsed?      13· · · · A.· · At that time?
  14· · · · · · · · ·And, again, I'm not -- I'm just        14· · · · Q.· · Yeah.
  15· looking for your approximation.                       15· · · · A.· · No, unless he was looking through the
  16· · · · MR. KUJAWA:· I think it's been asked and        16· mirror.
  17· answered.                                             17· · · · Q.· · Okay.· But then you were right next to
  18· · · · MR. KULIS:· I don't think I asked that one.     18· his window, right?
  19· · · · MR. KUJAWA:· Okay.· You can answer.             19· · · · A.· · When -- yes.
  20· · · · THE WITNESS:· Approximate, minute.              20· · · · Q.· · And you told him he was going to get
  21· BY MR. KULIS:                                         21· shot?
  22· · · · Q.· · When -- and I know you said you did a     22· · · · A.· · Correct.
  23· walk-through.· You remember kind of doing a           23· · · · Q.· · And the win- -- the gun was right
  24· walk-through.                                         24· towards the window, right?


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  ·1· · · · A.· · Correct.                                  ·1· five-minute break?
  ·2· · · · Q.· · And then you put it away and then you     ·2· · · · THE VIDEO TECHNICIAN:· Off the record at 3:32
  ·3· tried to break the window?                            ·3· at the end of media unit one.
  ·4· · · · A.· · No.· The gun was put away and then I      ·4· · · · · · · · · · · (Recess taken.)
  ·5· pulled the gun back out.· That's when I pointed it    ·5· · · · THE VIDEO TECHNICIAN:· We're back on the
  ·6· at him; and then when the baton came, I put it away   ·6· record at 3:39 at the beginning of media unit two.
  ·7· again or -- yeah.                                     ·7· BY MR. KULIS:
  ·8· · · · Q.· · Okay.· Maybe I'm missing something        ·8· · · · Q.· · Officer Sugars, I know at one point you
  ·9· here.                                                 ·9· indicated that you weren't sure where the officers
  10· · · · A.· · Yeah.· I might be missing -- I'm a        10· were when you were right up against the car.
  11· little confused now.                                  11· · · · · · · · ·I mean, you told them -- you told me
  12· · · · Q.· · That's okay.                              12· where Cater originally was, you saw him?
  13· · · · · · · · ·You came up with your gun out?         13· · · · A.· · Yes.
  14· · · · A.· · Yes.                                      14· · · · Q.· · After you heard the shots, you said you
  15· · · · Q.· · And then you put it away to try to        15· retreated around the parked vehicle, correct?
  16· break the window with your flashlight?                16· · · · A.· · Yes.
  17· · · · A.· · Yes.                                      17· · · · Q.· · At -- when you re- -- retreated around
  18· · · · Q.· · Okay.· And then the baton --              18· and came around the back, at any point did you look
  19· · · · A.· · I pulled my weapon back out.· That's      19· up to see where Cater was at any point?
  20· when he put his head up against the window, and       20· · · · A.· · I don't remember where he was.· I don't
  21· then that's when the baton came.                      21· remember -- like I said, Riley was in the driveway
  22· · · · Q.· · So at what point in time did you tell     22· still area.· I don't remember where Cater was.
  23· him he was going to get shot?· The first or the       23· · · · Q.· · Did Riley have his weapon out?
  24· second time that you had your weapon out?             24· · · · A.· · Before or after I watched the video?


                                               Page 123                                                            Page 125
  ·1· · · · A.· · The second.                             ·1· · · · Q.· · Oh, okay.· Good question.
  ·2· · · · Q.· · Do you know why you guys were taken     ·2· · · · A.· · At the time, I don't remember; and then
  ·3· back to the police station separately?              ·3· obviously, after watching the video, I knew he had
  ·4· · · · A.· · Per -- per the investigation policy,    ·4· it out.
  ·5· procedure, whatever, they don't want us to be near  ·5· · · · Q.· · Okay.· So I just want to clarify
  ·6· each other.                                         ·6· something.
  ·7· · · · · · · · ·I -- I know that's the process that  ·7· · · · · · · · ·So I remember at one point you said
  ·8· we had to go through.· I don't know exactly why.    ·8· initially Cater was at the back passenger side near
  ·9· · · · Q.· · But you don't -- they don't want you    ·9· the back taillight, correct?
  10· kind of --                                          10· · · · A.· · Yes.
  11· · · · A.· · Communicating with each other, yes.     11· · · · Q.· · When is the next time you saw Cater
  12· · · · Q.· · Oh, okay.· But irrespective of that,    12· after that?
  13· you were ordered to come in and all come together   13· · · · A.· · I -- I couldn't remember, like I said.
  14· in a room before you guys even gave your statement 14· I think you asked it earlier, and I don't remember
  15· to watch the video?                                 15· the exact -- I remember seeing them later on. I
  16· · · · A.· · I don't know if it was before or after. 16· just don't remember where it was.
  17· I can't remember what day I watched the video and   17· · · · Q.· · Okay.· So, during this scenario, you
  18· then what day I did -- well, I know -- the day I    18· never saw -- you couldn't place him at any point?
  19· did the statement, I don't know if I watched the    19· · · · A.· · Near the car is -- the only time I saw
  20· video before or after.· I can't remember.· I know   20· him near the car was when I looked and asked for
  21· it was -- it was close to the same day.             21· the baton.
  22· · · · THE VIDEO TECHNICIAN:· Excuse me.· Can we     22· · · · · · · · ·After that, I think it was during
  23· pause for just a minute so I can --                 23· the -- they were doing CPR on him, is when I
  24· · · · MR. KULIS:· Sure.· Could we take a -- like a  24· finally --


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  ·1· · · · Q.· · So after the incident, the shooting was ·1· · · · Q.· · Okay.· Did you tell him he was going to
  ·2· over --                                             ·2· get shot when you first came up with the gun?
  ·3· · · · A.· · Yes.                                    ·3· · · · A.· · No.
  ·4· · · · Q.· · -- is the next time you saw him.· Okay. ·4· · · · Q.· · Did you get -- tell him he was going to
  ·5· · · · · · · · ·Since you've been a -- a police      ·5· get shot before you took your flashlight out to try
  ·6· officer, have you ever fired your weapon?           ·6· to break the window?
  ·7· · · · A.· · On duty?                                ·7· · · · A.· · No.
  ·8· · · · Q.· · On duty.                                ·8· · · · Q.· · Did you tell him he was going to get
  ·9· · · · A.· · No.                                     ·9· shot before you yelled for the baton?
  10· · · · Q.· · Okay.· And I'm not talking about, you   10· · · · A.· · I believe it was right after.
  11· know, at the range or something.· You know I didn't 11· · · · Q.· · Okay.· So you yell for the baton and
  12· mean --                                             12· somebody threw a baton, correct?
  13· · · · A.· · Okay.· No.                              13· · · · A.· · Not right when I asked for it.· It was
  14· · · · Q.· · After the incident, who's the first     14· a -- a delay.
  15· person you called on your cell phone to tell them   15· · · · Q.· · Okay.
  16· about this shooting?                                16· · · · A.· · So I asked for the baton, turned back
  17· · · · A.· · I have no idea.· First person I called, 17· to reassess it, re-pulled my pistol out, told him
  18· I have no idea.                                     18· that, and then the baton hit.
  19· · · · · · · · ·The first person I texted was my     19· · · · Q.· · Okay.· Why did you pull your pistol out
  20· mom, and it wasn't about -- it was telling her just 20· again?
  21· I'm fine, if you hear anything.                     21· · · · A.· · Because I was sitting there.· Nothing.
  22· · · · · · · · ·It wasn't saying I'm involved in a   22· · · · Q.· · And that's when you told him, You're
  23· shooting.                                           23· going to get shot?
  24· · · · Q.· · I'm talking about like in detail or --  24· · · · A.· · Yes.

                                                           Page 127                                                    Page 129
  ·1· · · · A.· · Nobody.                                             ·1· · · · Q.· · As you were pointing the weapon at him
  ·2· · · · Q.· · Okay.· When you pulled Nathaniel                    ·2· a second time?
  ·3· Edwards out of the vehicle, did you see any wounds? ·3· · · · A.· · Yes.
  ·4· · · · A.· · No.                                                 ·4· · · · Q.· · Okay.· And then somebody threw the
  ·5· · · · Q.· · But you saw blood in the car, correct?              ·5· baton?
  ·6· · · · A.· · Yes.                                                ·6· · · · A.· · Yes.
  ·7· · · · Q.· · And when you pulled him from the car --             ·7· · · · Q.· · Okay.· And then the baton bounced and
  ·8· and I think I asked you this -- was -- I know I                 ·8· went down, and then you went down to get it and
  ·9· asked you at one point, was the car still running;              ·9· then you heard shots?
  10· but when you pulled him from the car, was the car               10· · · · A.· · Yes.
  11· still running?                                                  11· · · · Q.· · Okay.· So it was the second time you
  12· · · · A.· · I can't remember.                                   12· pulled your weapon but before the -- that you told
  13· · · · · · · · · · · (Sotto voce discussion between              13· him, You're going to get shot?
  14· · · · · · · · · · · ·plaintiff's counsel.)                      14· · · · A.· · Yes.
  15· BY MR. KULIS:                                                   15· · · · · · · · · · · (Sotto voce discussion between
  16· · · · Q.· · And I know you may think I've gone                  16· · · · · · · · · · · ·plaintiff's counsel.)
  17· over this, but I've just got to -- the timing is                17· BY MR. KULIS:
  18· important.                                                      18· · · · Q.· · You know, we all like to share our --
  19· · · · · · · · ·From the time you approached the                 19· our stories as lawyers or police officers or
  20· window initially with your gun drawn, how much time 20· whatever.
  21· elapsed before you told him that he was going to                21· · · · · · · · ·Did you ever tell -- have you ever
  22· get shot?· Approximately.                                       22· sat down and tell your friends about what occurred?
  23· · · · A.· · I'd say within a minute.· So between 20             23· · · · A.· · Not until the whole investigation was
  24· to 60 seconds.                                                  24· done and over with.


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  ·1· · · · Q.· · But did you ever sit down, even over              ·1·   · · · · · · · REPORTER'S CERTIFICATE
                                                                    ·2·   · · · I, Nicole M. Cheney, do hereby certify that
  ·2· dinner or a beer or whatever you drink or                     · ·   DUSTIN NATHANIEL SUGARS was duly sworn by me to
  ·3· whatever -- if you drink at all, but -- and tell              ·3·   testify the whole truth, that the foregoing
                                                                    · ·   deposition was recorded stenographically by me and
  ·4· one of your friends what happened that night?                 ·4·   was reduced to computerized transcript under my
  ·5· · · · A.· · No.· I just -- I would say the most I             · ·   direction, and that the said deposition constitutes
                                                                    ·5·   a true record of the testimony given by said
  ·6· ever got out was that I was involved or I was a               · ·   witness.
  ·7· part of it, because the video was released by the             ·6
                                                                    · ·   · · · I further certify that the reading and
  ·8· news and that's when a lot of people knew I was               ·7·   signing of the deposition was waived by the
  ·9· there.                                                        · ·   deponent's counsel.
                                                                    ·8
  10· · · · Q.· · And did anyone ask you after that like,           · ·   · · · I further certify that I am not   a relative
  11· What the hell happened out there?                             ·9·   or employee or attorney or counsel of   any of the
                                                                    · ·   parties, or a relative or employee of   such attorney
  12· · · · · · · · ·I'm not -- you know --                         10·   or counsel, or financially interested   directly or
  13· · · · A.· · I had lots of people ask me what                  · ·   indirectly in this action.
                                                                    11
  14· happened.                                                     · ·   · · · IN WITNESS WHEREOF, I have hereunto set my
  15· · · · Q.· · And what was your response?                       12·   hand and affixed my seal of office at Chicago,
                                                                    · ·   Illinois, this 27th day of August 2019.
  16· · · · A.· · I didn't get into detail.                         13
  17· · · · Q.· · What would you say?                               14
                                                                    15·   · · · · · · · ·___________________________
  18· · · · A.· · I couldn't even tell you.· I can't                · ·   · · · · · · · ·Illinois CSR No. 084-004744
  19· tell you what I told, who I told at that point.               16
                                                                    17
  20· · · · Q.· · But, I mean, any of your best friends             18
  21· or did you ever tell them, you know, This is what             19
                                                                    20
  22· happened and this is why, you know, he was killed             21
  23· or why somebody would -- why he was shot?                     22
                                                                    23
  24· · · · A.· · I don't know why he was killed at that            24


                                                         Page 131
  ·1· time.· I still don't know why.· It was -- like I
  ·2· don't know.· I wasn't that person.
  ·3· · · · Q.· · Okay.· As -- as you sit here today, you
  ·4· still don't know why he was killed?
  ·5· · · · A.· · I wasn't that person.· So I can't
  ·6· answer that question.
  ·7· · · · MR. KULIS:· Okay.· Thank you.· We have
  ·8· nothing else.
  ·9· · · · MR. KUJAWA:· We'll waive.
  10· · · · MR. BROOKS:· Thanks.
  11· · · · THE VIDEO TECHNICIAN:· This concludes today's
  12· proceedings.· We are going off the record at 3:47
  13· at the end of media unit two.
  14· · · · · · · · · · · (The proceedings adjourned at
  15· · · · · · · · · · · ·3:47 p.m.)
  16
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